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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE

THE FAMILY PLANNING ASSOCIATION OF                            )
MAINE D/B/A MAINE FAMILY PLANNING,                            )
on behalf of itself, its staff, and its patients;             )
                                                              )
and                                                           )
                                                              )
J. DOE, DO, MPH, individually and on behalf of                )
Dr. Doe’s patients,                                           )          Case No. ___________
                                                              )
Plaintiffs,                                                   )        COMPLAINT FOR
                                                              )        DECLARATORY AND
v.                                                            )        INJUNCTIVE RELIEF
                                                              )
UNITED STATES DEPARTMENT OF                                   )
HEALTH AND HUMAN SERVICES;                                    )
                                                              )
ALEX M. AZAR II, in his official capacity as                  )
Secretary of Health and Human Services;                       )
                                                              )
OFFICE OF POPULATION AFFAIRS;                                 )
                                                              )
and                                                           )
                                                              )
DIANE FOLEY, M.D., in her official capacity as                )
the Deputy Assistant Secretary for Population                 )
Affairs,                                                      )
                                                              )
Defendants.


                                    PRELIMINARY STATEMENT

        1.      This case challenges and seeks to enjoin the final rule titled Compliance with

Statutory Program Integrity Requirements (the “Rule”), published by the United States

Department of Health and Human Services (“HHS”) on March 4, 2019.1 The Rule imposes

drastic and unlawful changes to the Title X family planning program, and would undo decades of




1
 Compliance With Statutory Program Integrity Requirements, 84 Fed. Reg. 7,714 (Mar. 4, 2019) (to be codified at
42 C.F.R. pt. 59).
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progress for the health of those most in need. If it is not enjoined, the Rule will wreak havoc on

reproductive health care across the country, with devastating effects in the state of Maine.

       2.      For nearly half a century, Title X has been the only federal program dedicated to

providing family planning services in the United States, with remarkable success. Services

provided by Title X grantees have substantially improved the health and well-being of women

around the country, particularly underserved populations.

       3.      Today, the Title X family planning program provides reproductive health care

services to approximately four million low-income, uninsured, and underserved individuals across

the country, over 60% of whom use the program as their usual source of health care. In Maine,

where Plaintiff Maine Family Planning has been the sole Title X grantee in the state for the last

forty-eight years, Title X clinics served nearly 24,000 patients in 2018. Title X clinics are critical

in Maine, in part because it is one of the most rural states in the country. Among other factors,

poverty, lack of health insurance, and unpredictable driving conditions in Maine make accessing

health care in the state especially challenging for many Mainers.

       4.      The statute creating the Title X program provides that Title X funding cannot be

used “in programs where abortion is a method of family planning.” In compliance with this

statute and as confirmed by regular audits and site visits, Plaintiff Maine Family Planning has

always scrupulously complied with longstanding HHS regulations, ensuring that Title X funds are

kept apart from its separate provision of abortion services, without issue. Upon information and

belief, other Title X grantees nationwide have similarly complied with these Title X regulations.

       5.      Nonetheless, asserting without basis that the longstanding regulations are now

somehow inadequate to ensure potential compliance issues and to prevent the possibility of

hypothetical patient confusion, and with no regard for the widespread harms it will actually cause,




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the Rule imposes radical changes on the program, including at least two restrictions that

particularly impact Plaintiffs and their patients.

       6.      First, the Rule includes a “Gag Rule” that singles out abortion from all other health

care topics by, among other things, prohibiting health professionals from providing their patients

with abortion referral information even if patients directly request it. At the same time, the Rule

mandates that the patient be referred for prenatal services, regardless of whether such a referral is

wanted or appropriate. In Maine, where patients frequently have nowhere else to go for

reproductive health care, and where many women are misinformed about or unaware of their

abortion options, the Gag Rule will burden access to abortion by confusing and delaying patients

seeking such care. Decades of Supreme Court precedent, strengthened and reaffirmed as recently

as last year, prohibit the government from meddling in the provider-patient relationship in this

way. Indeed, the First Amendment’s free speech protections are at their zenith when the

government seeks to control the form and content of individuals’ protected speech. Likewise, the

Affordable Care Act specifically protects the rights of health care professionals and patients to

unfettered communication regarding patients’ medical options.

       7.      To provide just one example that demonstrates the absurdity of how the Gag Rule

would operate, while a patient is in the middle of an appointment or consultation with a trusted

medical provider, perhaps while the patient is partially disrobed or in the middle of being

examined in some way, the Rule would require that provider to rebuff that patient’s questions

about where to obtain an abortion, by refusing to answer. Still worse, even if that patient makes

clear her decision to have an abortion, the provider would then be required to provide, instead of a

referral for the care she actually needs, a government-mandated referral for prenatal care.




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       8.      Second, the Rule requires that all abortion services be physically separated from

clinics that also provide Title X services, regardless of the fact that Title X funds are not now and

never have been used to provide abortion at those sites. This requirement specifically targets

Title X providers, like Maine Family Planning, that have been providing Title X services and

abortion at the same location for decades. Since the inception of the Title X program, these

providers have been able to share facilities among their abortion and family planning practices so

long as costs are pro-rated and properly allocated. Maine Family Planning and other such

providers have employed this structure and built their practices around the program’s

requirements without issue. But the Rule now mandates that abortion services be cut off from

other reproductive health services, in contravention of decades-old care-delivery models and good

medical practice, and without any acknowledgment that it is functionally impossible for many

providers to meet these requirements.

       9.      Defendants, who portray the Rule in part as a mere administrative effort to avoid

hypothetical, possible confusion or commingling, utterly fail to acknowledge the significant

negative impacts the Rule will have on the Title X program, on family planning patients, and on

patients seeking abortion services. By contrast, any purported “need” for these restrictions is

contravened by the Title X program’s 48-year record of overwhelming success in its current form,

and by the dearth of real-world evidence of patient confusion, provider noncompliance, or

violations of Congressional intent.

       10.     The Rule will devastate family planning services because it will force health care

providers either to curtail their family planning services or to leave the Title X program

altogether. For some clinics, it will be impossible to stay in the Title X program and fulfill their

missions to offer comprehensive and quality reproductive health care. For others, it will simply




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be financially or physically infeasible for them to separate their established practices in the

burdensome manner contemplated by the Rule. Indeed, Planned Parenthood, which treats more

than 40% of Title X patients nationwide, has already asserted that it will leave the Title X

program if the Rule goes into effect. Even more clinics may attempt to comply with the Rule but

ultimately fail, given the vagueness of the propounded requirements. With so many providers

forced out of the program, women across the country will lose access to subsidized family

planning services. For many women in underserved communities, this would be a loss of their

sole health care provider.

        11.     For Maine Family Planning, the choice of whether or not to remain in the Title X

program, which comprises a substantial and material portion of its annual budget, presents no

tenable options. Implementing the Rule will eliminate 85% of the abortion clinics in the state,

and there is no evidence that other, non-Title X providers will step into the resulting void. These

closures will impose enormous burdens on women who currently seek abortion services at the

shuttered clinics, including onerous and potentially prohibitive increases in driving distances to

receive abortion care. Furthermore, the Gag Rule prevents Maine Family Planning and its health

care providers from providing their patients with the care necessary to fulfill their ethical duties.

        12.     On the other hand, if Maine Family Planning is forced to leave the Title X

program, the resulting loss of revenue would soon require it to reduce the services it provides and

close clinics entirely. This would mean that thousands of women in Maine would lose access to

family planning services and abortion services.

        13.     By imposing barriers to healthcare access, and by forcing health care providers to

give their patients misleading information about pregnancy options, the Rule violates multiple

federal statutes.




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       14.     And the Rule’s attempt to withhold federal funds based on protected activity

performed outside the program and without Title X funds is precisely the type of coercive

government conduct forbidden by the United States Constitution.

       15.     For these reasons and others described below, the Rule violates the Administrative

Procedure Act, 5 U.S.C. § 706(2)(A)–(C), and the First and Fifth Amendments to the United

States Constitution. The Court should invalidate and enjoin the Rule.

                                             PARTIES

       16.     Plaintiff Maine Family Planning is a non-profit corporation incorporated in Maine

with its principal place of business in Augusta, Maine. Maine Family Planning has served as the

sole statewide Title X grantee for the State of Maine’s family planning program for forty-eight

years. It is currently the recipient of a seven-month Title X grant awarded in September 2018 and

has applied for a three-year grant to begin on April 1, 2019.

       17.     Since its founding, Maine Family Planning has worked to ensure that all Mainers

have access to high-quality, affordable reproductive health care, comprehensive sexual health

education, and the right to control their reproductive lives. To carry out its mission, Maine

Family Planning directly operates eighteen family planning centers throughout Maine and

provides funding through subcontracts that support twenty-nine additional sites. Plaintiff Maine

Family Planning sues on its own behalf and on behalf of its staff and patients.

       18.     Maine Family Planning provides a range of health care services at its sites,

including annual gynecological exams; screening for cervical and breast cancer; family planning

counseling; contraceptive services; pregnancy testing and counseling regarding pregnancy options

(including continuing the pregnancy and parenting, making a plan for adoption or foster care, or

ending the pregnancy with an abortion); abortion care; miscarriage care; referrals for adoption;

prenatal consultation; colposcopy; endometrial and vulvar biopsy; screening, diagnosis, and


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treatment of urinary, vaginal, and sexually transmitted infections; hormone therapy and other

services for transgender clients; and services for mid-life women.2

       19.      Maine Family Planning has, since 1997, provided first trimester abortion care,

which is made available without using any federal resources.

       20.      Plaintiff J. Doe, DO, MPH, is a physician and doctor of osteopathy, licensed in

family medicine and with experience in women’s health. Plaintiff Doe is one of seven physicians

providing abortion services at Maine Family Planning. Dr. Doe provides abortion care through a

Maine Family Planning clinic and medication abortion via telemedicine. Plaintiff Doe sues

individually and on behalf of all patients.

       21.      Defendant the United States Department of Health and Human Services (“HHS”)

is an executive agency of the United States that is responsible for issuing and enforcing the Rule.

       22.      Defendant Alex M. Azar II is the Secretary of Health and Human Services and is

sued in his official capacity. He is responsible for the operation and management of HHS.

       23.      Defendant Office of Population Affairs (“OPA”) is the office within HHS that

administers the Title X program and serves as the focal point to advise the Secretary and Assistant

Secretary of HHS on reproductive health topics, including the Title X program and family

planning.

       24.      Defendant Diane Foley, M.D., is the Deputy Assistant Secretary for OPA. She is

sued in her official capacity. She is responsible for the operation and management of OPA.




2
 Maine Family Planning provides additional services at a few of its sites in response to clear need: comprehensive
primary care services at its Ellsworth site; a Women, Infants and Children nutrition program for Hancock and
Washington Counties; and a home visiting program for new parents in Hancock County.



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                                            JURISDICTION AND VENUE

               25.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1361, as this action

arises under the Constitution and laws of the United States. This Court has jurisdiction to render

declaratory and injunctive relief under 28 U.S.C. §§ 2201 and 2202, 5 U.S.C. § 702, and Federal

Rules of Civil Procedure 57 and 65.

               26.     Venue is proper in this district under 28 U.S.C. § 1391(e). Maine Family Planning

is located in this judicial district, and a substantial part of the events, actions, or omissions giving

rise to these claims are occurring in this judicial district. Defendants are a United States agency,

an office of that agency, and United States officials sued in their official capacities.

                                              FACTUAL BACKGROUND

I.         Title X Family Planning Program

           A. Enactment and Scope of Title X Family Planning Services

               27.     In 1970, Congress enacted Title X of the Public Health Service Act (“Title X” or

the “Act”), 84 Statute 1506, as amended 42 U.S.C. §§ 300 to 300a-6, which provides federal

funding for family planning services. Title X was passed with broad bipartisan support and has

enjoyed broad bipartisan support for decades.

               28.     Title X was enacted to address the growing disparity in unintended childbearing

between low-income individuals and those with the resources to access contraception. Thus, the

core of Title X’s mission is the expansion of access to reproductive health care services to low-

income individuals, including communities of color, immigrants, and rural residents who may

otherwise lack access to family planning services and related preventive care.3




     3
         Pub. L. No. 91–572 §2, 84 Stat. 1506 (1970); 42 U.S.C. §300(a) (2012).



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          29.     Title X is the only federal program solely dedicated to providing family planning

services in the United States. Although other federal programs, such as Medicaid, also provide

family planning funding through reimbursement for clinical services provided to individual,

insured patients, Title X funding is a critical portion of a publicly-funded family planning center’s

fiscal portfolio because it can be used to cover costs not covered by more restricted funds—for

example, the costs of purchasing contraceptives (including expensive but highly effective

methods of long-acting reversible contraception (“LARC”) like intrauterine devices (“IUDs”)),

training staff, and building infrastructure. Title X funds also are used to pay for a wide variety of

family planning services and the infrastructure that makes delivery of such services possible,

including, but not limited to, gynecological examinations and basic lab tests; screening services

for sexually transmitted infections and cancer; contraceptive information and services; pregnancy

testing; and community outreach.

          30.     Title X funds may not be used to pay for abortion services.4 That restriction,

which is set forth in Section 1008 of Title X, was intended to ensure that Title X funds would “be

used only to support preventive family planning services, population research, infertility services,

and other related medical, informational, and educational activities.”5 But, Section 1008 was

never intended to interfere with communications concerning abortion between Title X providers

and their patients—a distinction that Congress and HHS have repeatedly made clear. Since the

inception of the Title X program, providers have been allowed to offer Title X family planning

services and abortion care at the same site, so long as costs are pro-rated and properly allocated.

And, since July 2000, federal regulations have expressly permitted colocation of Title X family


4
    42 U.S.C. § 300a-6.
5
    H.R. Rep. No. 91-1667, at 8 (1970).




                                                    9
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planning services and abortion care subject to those same conditions.6

          31.      Title X is a competitive grant program, meaning that eligible entities must apply to

OPA to be awarded funds. The Act authorizes the Secretary to make grants to “assist in the

establishment and operation of voluntary family planning projects which shall offer a broad range

of acceptable and effective family planning methods and services.”7 State, county, and local

health departments make up roughly half of the current cohort of Title X grantees, with hospitals,

family planning councils, Planned Parenthood health centers, federally qualified health centers

(“FQHCs”), and other private non-profit organizations making up the rest of the network.

Plaintiff Maine Family Planning is a private not-for-profit family planning council grantee.

          32.      Title X programs are not funded exclusively by Title X—indeed, by law they

cannot be.8 Rather, in 2017, Title X funding itself accounted nationwide for only 19% of Title X

project revenue, with the remainder coming from fees for service and other government grants.9

          33.      Title X grantees are subject to regular and extensive compliance review by HHS.

Indeed, OPA itself has touted its thorough and comprehensive oversight of the program.

According to OPA, “family planning projects that receive Title X funds are closely monitored to

ensure that federal funds are used appropriately and that funds are not used for prohibited

activities such as abortion.”10 As identified by HHS, there are several “safeguards” in place to

ensure abortion activities are kept “separate and distinct” from Title X programs, including:


6
 See Standards of Compliance for Abortion-Related Services in Family Planning Services Projects, 65 Fed. Reg.
41,270 (July 3, 2000).
7
    42 U.S.C. § 300(a).
8
    42 C.F.R. §59.7(c) (2018).
9
 OFFICE OF POPULATION AFFAIRS, FAMILY PLANNING ANNUAL REPORT: 2017 NATIONAL SUMMARY A-33 (Aug.
2018) [hereinafter 2017 FPAR], https://www.hhs.gov/opa/sites/default/files/title-x-fpar-2017-national-summary.pdf.
10
  ANGELA NAPILI, CONG. RESEARCH SERV., TITLE X (PUBLIC HEALTH SERVICE ACT) FAMILY PLANNING PROGRAM
22 (Aug. 31, 2017) [hereinafter 2017 CRS REPORT], https://fas.org/sgp/crs/misc/RL33644.pdf; ANGELA NAPILI,



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                     (1) careful review of grant applications to ensure that the applicant
                     understands the requirements and has the capacity to comply with
                     all requirements; (2) independent financial audits to examine
                     whether there is a system to account for program-funded activities
                     and nonallowable program activities; (3) yearly comprehensive
                     reviews of the grantees’ financial status and budget report; and (4)
                     periodic and comprehensive program reviews and site visits by
                     OPA regional offices.11

 Grantees also are responsible for monitoring their sub-recipients’ financial compliance on an

 ongoing basis and must get pre-approval from OPA for any changes in the scope of their Title X

 project or new sub-recipient contracting relationships.

        B. Success of the Title X Program

            34.    The Center for Disease Control and Prevention (“CDC”) has hailed Title X as one

of the greatest public health achievements of the 20th century.12 The program currently serves

over four million low-income, uninsured, and underserved individuals at 3,858 sites across the

country.13 It is a critical source of care for these groups: for the past 15 years, at least two-thirds

of Title X patients had incomes at or below the poverty level.14 And in 2017, 90% of patients

qualified for either subsidized or no-charge services.15 As of 2016, 60% of women receiving Title




 CONG. RESEARCH SERV., TITLE X (PUBLIC HEALTH SERVICE ACT) FAMILY PLANNING PROGRAM 16 (Apr. 27, 2018)
 [hereinafter 2018 CRS REPORT], https://fas.org/sgp/crs/misc/R45181.pdf.
 11
      Id.
 12
  See CDC, Achievements in Public Health, 1990–1999: Family Planning, 48 MORBIDITY & MORTALITY WKLY.
 REP. 1073, 1073 (1999).
 13
      2017 FPAR, supra note 9, at ES-1.
 14
   2017 FPAR, supra note 9, at ES-2; OFFICE OF POPULATION AFFAIRS, FAMILY PLANNING ANNUAL REPORT: 2003
 SUMMARY 22 (Aug. 2004) [hereinafter 2003 FPAR], https://www.hhs.gov/opa/sites/default/files/fpar-2003-national-
 summary-part-1.pdf.
 15
      2017 FPAR, supra note 9, at 21.




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X services reported that a Title X–funded health center was their usual source of medical care,

and 40% reported that a Title X–funded health center was their only source of health care.16

           35.     Title X also serves an increasingly diverse population. Between 1997 and 2017,

the number of patients who identified as white dropped from 67% to 54%.17 Patients identifying

as Latino or Hispanic have increased in the past 15 years from 22% to 33%, and African

American or Black users have continued to account for 21-22% of Title X patients.18

           36.     In particular, publicly funded family planning clinics are critically important

resources for the 24% of U.S. residents living in rural areas, including nineteen million women.

Rural areas already experience a significant shortage of reproductive health providers.

           37.     Title X has prevented millions of unintended pregnancies. One study estimated

that in 2015 (the most recent year for which these numbers are available), the contraceptive care

provided by Title X providers helped prevent more than 820,000 unintended pregnancies, over

270,000 of which likely would have ended in abortion.19 In the absence of this reduction, the

U.S. unintended pregnancy rate would have been 31% higher and the unintended pregnancy rate

among teens would have been 44% higher.20




16
  Megan L. Kavanaugh et al., Use of Health Insurance Among Clients Seeking Contraceptive Services at Title X–
Funded Facilities in 2016, 50 PERSP. ON SEXUAL & REPROD. HEALTH 101, 105 (2018).
17
     2003 FPAR, supra note 14, at 14; 2017 FPAR, supra note 9, at 12.
18
  2003 FPAR, supra note 14, at 14; 2017 FPAR, supra note 9, at ES-2, 12. Title X patients are disproportionately
Black and Hispanic or Latino compared to the U.S. population as a whole. See, e.g., NAT’L FAMILY PLANNING &
REPROD. HEALTH ASS’N, TITLE X: AN INTRODUCTION TO THE NATION’S FAMILY PLANNING PROGRAM (Nov. 2017),
https://www.nationalfamilyplanning.org/file/Title-X-101-November-2017-final.pdf; C.I. Fowler et al., OFFICE OF
POPULATION AFFAIRS, FAMILY PLANNING ANNUAL REPORT: 2016 NATIONAL SUMMARY (Aug. 2017),
https://www.hhs.gov/opa/sites/default/files/title-x-fpar-2016-national.pdf.
19
  JENNIFER J. FROST ET AL., GUTTMACHER INST., PUBLICLY FUNDED CONTRACEPTIVE SERVICES AT U.S. CLINICS,
2015 (Apr. 2017), https://www.guttmacher.org/report/publicly-funded-contraceptive-services-us-clinics-2015.
20
     Id.




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          38.     Title X also helps health care providers carry out broader public health mandates.

For example, in 2017, Title X funds helped provide 5,200,000 sexually transmitted infection

(“STI”) tests (including 1,200,000 HIV tests), nearly 700,000 Pap tests, and nearly 900,000

clinical breast exams.21

          39.     Moreover, because many Title X providers have been in the program for decades,

they have developed particular expertise in treating this patient population. Studies show that

women prefer to get reproductive health and family planning care from medical professionals

who specialize in family planning, even if they have other available primary care options.22

          40.     A recent study published by HHS administrators showed that Title X providers are

more likely than non-Title X providers to provide reproductive health care that is consistent with

current, evidence-based clinical guidelines, such as offering the most effective contraceptive

methods on-site.23

          41.     As the benefits of comprehensive reproductive health services have become

increasingly recognized, family planning and abortion services have accordingly grown more

likely to be provided at the same site. An estimated one in ten Title X clinic sites offer abortion

services using non-federal funds.24




21
     2017 FPAR, supra note 9, at ES-2.
22
  Jennifer J. Frost et al., Specialized Family Planning Cinics in the United States: Why Women Choose Them and
Their Role in Meeting Women’s Health Care Needs, 22 WOMEN’S HEALTH ISSUES 519, 523 (2012).
23
  Marion W. Carter et al., Four Aspects of the Scope and Quality of Family Planning Services in US Publicly
Funded Health Centers: Results from a Survey of Health Center Administrators, 94 CONTRACEPTION J. 340 (2016);
Heike Thiel de Bocanegra et al., Onsite Provision of Specialized Contraceptive Services: Does Title X Funding
Enhance Access?, 23 J. WOMEN’S HEALTH 428 (2014).
24
  ANGELA NAPILI, CONG. RESEARCH SERV., FAMILY PLANNING PROGRAM UNDER TITLE X OF THE PUBLIC HEALTH
SERVICE ACT 14 (Oct. 15, 2018), https://fas.org/sgp/crs/misc/R45181.pdf; see also A Domestic Gag Rule and More:
The Administration’s Proposed Changes to Title X, GUTTMACHER INST. (June 18 2018),
https://www.guttmacher.org/article/2018/06/domestic-gag-rule-and-more-administrations-proposed-changes-title-x.




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     C. History of Title X Regulations Relating to Abortion

       42.       Prior to 1988, the regulations that governed Title X allowed Title X projects to

share facilities with abortion providers, and HHS’s Family Planning Guidelines and other policy

documents prior to 1988 all consistently required Title X providers to offer “nondirective” options

counseling to pregnant women and referrals for abortion services upon request.25 “Nondirective

counseling” is commonly understood in medicine to mean patient-directed counseling that

presents neutral and unbiased information regarding all options relevant to the patient and

consistent with the patient’s expressed wishes to hear the information, including in the context of

pregancy, prenatal care, adoption, and/or abortion.26


25
  See Standards of Compliance for Abortion-Related Services in Family Planning Services Projects, 65 Fed. Reg. at
41,272-73.
26
  The preamble to the Rule provides a different, vague definition for “nondirective counseling” that appears to
contemplate counseling directing the patient toward prenatal care even in cases where a patient only requests and/or
needs information about abortion:
         Nondirective pregnancy counseling is the meaningful presentation of options where the
         physician or advanced practice provider (APP) is “not suggesting or advising one option over
         another.” . . . Nondirective counseling does not mean that the counselor is uninvolved in the
         process or that counseling and education offer no guidance, but instead that clients take an
         active role in processing their experiences and identifying the direction of the interaction. In
         nondirective counseling, the Title X physicians and APPs promote the client’s self-awareness
         and empower the client to be informed about a range of options, consistent with the client’s
         expressed need and with the statutory and regulatory requirements governing the Title X
         program. In addition, the Title X provider may provide a list of licensed, qualified,
         comprehensive primary health care providers (including providers of prenatal care), some (but
         not the majority) of which may provide abortion in addition to comprehensive primary care.
Compliance With Statutory Program Integrity Requirements, 84 Fed. Reg. 7,714, 7,716 (Mar. 4, 2019) (to be
codified at 42 C.F.R. pt. 59) (citations omitted). By contrast, the regulations for the program promulgated in 2000
identified the directive nature of such care:
         If projects were to counsel on an option even where a client indicated that she did not want to
         consider that option, there would be a real question as to whether the counseling was truly
         nondirective or whether the client was being steered to choose a particular option. We note that
         under the ‘‘on request’’ policy a Title X grantee is not prohibited from offering to a pregnant
         client information and counseling on all options for pregnancy management, including
         pregnancy termination; indeed, such an offer is required under § 59.5(a)(5) below. However, if
         the client indicates that she does not want information and counseling on any particular option,
         that decision must be respected.
Standards of Compliance for Abortion-Related Services in Family Planning Services Projects, 65 Fed.
Reg. at 41,273.




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          43.      In 1988, HHS issued a rule (“the 1988 Rule”) setting out a new standard of

compliance for family planning projects under Title X.27 For the first time in the program’s

history, the 1988 Rule prohibited Title X recipients who perform, refer for, or counsel on abortion

care from receiving federal family planning funds, a specific provision often referred to as the

“1988 gag rule.” The 1988 Rule also required for the first time physical and financial separation

of Title X services from abortion services, as well as physical and financial separation of any

ancillary activities connected to abortion. The 1988 Rule did not restrict prenatal or adoption

counseling and referral. To the contrary, the 1988 Rule stated “that pregnant women must be

referred to appropriate prenatal care services.”28

          44.      The 1988 Rule was challenged by recipients of Title X funding in several district

courts, which granted preliminary injunctions. Two district courts granted permanent injunctions,

which were affirmed by the First and Tenth Circuit Courts of Appeals. The Second Circuit

upheld the regulations, and that decision ultimately reached the United States Supreme Court in

Rust v. Sullivan.29 The Rust Court held that the 1988 Rule was lawful.

          45.      In November 1991, in response to the ongoing outcry from the medical

community, President George H.W. Bush directed HHS to implement the 1988 Rule in a manner

that would permit counseling on abortion. Because the guidelines then issued by HHS permitted

physicians, but not nurse practitioners, to counsel on abortion services, they were challenged

again. Ultimately, in November 1992, the D.C. Circuit upheld an injunction preventing the




27
  Statutory Prohibition on Use of Appropriated Funds In Programs Where Abortion Is a Method of Family
Planning; Standard of Compliance for Family Planning Services Projects, 53 Fed. Reg. 2,922 (Feb. 2, 1988).
28
     53 Fed. Reg. at 2,925 (emphasis added).
29
     500 U.S. 173 (1991).




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guidelines from being enforced for failure to follow notice-and-comment requirements.30

          46.      In September 1992, Congress passed a bill to explicitly allow for abortion

counseling within Title X (the “Family Planning Amendments Act”).31 The bill would have

required counseling and referral on all pregnancy options, including prenatal care and delivery,

infant care, foster care, adoption, and abortion.32

          47.      In discussing the Family Planning Amendments Act, members of Congress were

clear that they intended to overrule the 1988 gag rule and thus ensure that abortion counseling and

referral were permitted. Representative Waxman called the 1988 gag rule “bad medicine, bad

law, and bad precedent.”33 Others cautioned that “without [eliminating the gag rule] we will take

another step toward two-tier health care in America. Already the gap in health care is widening

between the haves and have nots. [If the gag rule remains in place] the gap will get wider.”34

“Every woman in America, regardless of income, is entitled to receive all the information about

her pregnancy options.”35 Others recognized that overriding the gag rule was necessary to “retain

the credibility of medical professionals,”36 emphasizing that “quality patient care [would] be

severely impaired”37 if the gag rule remained in place. And according to Representative

Roukema, “constraints on what a physician can say to a patient can only result in serious medical




30
     Nat’l Family Planning and Reprod. Health Assoc. v. Sullivan, 979 F.2d 227 (D.C. Cir. 1992).
31
     See Family Planning Amendments Act of 1992, S. 323, 102nd Cong. (1992).
32
     See 138 CONG. REC. 9,862 (1992).
33
     Id. at 9,859 (statement of Rep. Waxman).
34
     Id. at 9,860 (statement of Rep. Wyden).
35
     Id. at 9,859 (statement of Rep. Richardson).
36
     Id. at 9,863 (statement of Rep. McDermott).
37
     Id. at 9,864 (statement of Rep. Lowey).




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implications for the patient.”38 Representative AuCoin called the gag rule “institutionalized

medical malpractice.”39 Even more bluntly, Representative Atkins concluded, “Madam

Chairman, the gag rule is monumentally stupid.”40

          48.      To ensure that the intent of Congress was absolutely clear, Representative Studds

unequivocally stated: “When we created the title X program 20 years ago, we did not intend to

muzzle health care providers. But we didn’t say that loudly and clearly enough. But this time, let

there be no mistake. Title X providers must be able to inform individuals of all pregnancy

management options and we must write this explicitly into law.”41

          49.      Notwithstanding Congress’s clear demand that the gag rule be lifted, President

George H.W. Bush vetoed the Family Planning Amendments Act, and Congress was unable to

override the veto.

          50.      On January 20, 1993, Bill Clinton was sworn in as President. Two days later, on

January 22, 1993, he suspended the 1988 Rule by presidential memorandum, directing HHS to

promulgate new rules. The 1988 Rule was never implemented on a nationwide basis.

          51.      In 1995, Congress rejected an appropriations bill seeking to defund the Title X

program42 and instead voted in favor of a competing appropriations amendment that restored Title

X funding and further clarified that nondirective counseling by Title X providers does not




38
     Id. at 9,864 (statement of Rep. Roukema).
39
     Id. at 9,867 (statement of Rep. AuCoin).
40
     Id. at 9,873 (statement of Rep. Atkins).
41
     Id. at 9,872 (statement of Rep. Studds) (emphasis added).
42
  See Departments of Labor, Health and Human Services, and Education, and Related Agencies Appropriations Act,
1996, H.R. 2127, 104th Cong. (1996).




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constitute “funding abortion.”43 Since 1996, Congress has continued to pass this nondirective

counseling mandate—which expressly requires that “all pregnancy counseling shall be

nondirective”—annually as part of Title X appropriations, including in the current appropriations

Act (the “Nondirective Counseling Mandate”).44

          52.         On July 3, 2000, HHS issued new Title X rules (the “2000 Rules”) and

accompanying clarification.45 The 2000 Rules officially revoked the 1988 Rule and clarified that

the co-location of Title X family planning services and abortion care is consistent with Title X, so

long as costs are pro-rated and properly allocated.46 The 2000 Rules also clarified that the

provision by Title X providers of information about abortion services to their patients, including

the names, addresses, telephone numbers, and other relevant factual information about abortion

providers does not “promote or encourage abortion,” and therefore is permissible.47

          53.         The 2000 Rules also include a requirement that Title X recipients offer patients the

option to receive nondirective counseling on prenatal care, abortion, and adoption. Notably, this

aspect of the 2000 Rules aligns with Congress’s Nondirective Counseling Mandate.

          54.         In addition, OPA has regularly set forth clinical standards for the Title X Program

confirming that the 2000 Rules and the Nondirective Counseling Mandate are consistent with

well-settled and evidence-based standards for high-quality provision of family planning services.



43
  Omnibus Consolidated Rescissions and Appropriations Act of 1996, Pub. L. 104–134, 110 Stat. 1321 (1996);
H.R. Rep. No. 104-537 (1996) (Conf. Rep.) (“[A]ll pregnancy counseling shall be nondirective . . . .”).
44
  See Consolidated Appropriations Act, 2018, at 369, Pub. L. 115–141, 132 Stat. 348 (2018) (requiring “that all
pregnancy counseling shall be nondirective”); Continuing Appropriations Act, 2019, Pub. L. 115–245, 132 Stat.
2981, 3070–71 (requiring that “all pregnancy counseling shall be nondirective”).
45
   See Standards of Compliance for Abortion-Related Services in Family Planning Services Projects, 65 Fed. Reg.
41,270.
46
     Id. at 41,281–82.
47
     Id. at 41,281.




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OPA requires Title X grantees to follow the federal Quality Family Planning Guidelines issued by

the CDC.48 According to those guidelines, upon a positive pregnancy test, “[r]eferral to

appropriate providers of follow-up care should be made at the request of the client, as needed,”

and “[e]very effort should be made to expedite and follow through on all referrals.”49 The

Quality Family Planning Guidelines are not limited to referrals for prenatal care and clearly

encompass referrals for termination of pregnancy.

          55.      The interpretation of Title X in the Nondirective Counseling Mandate, the 2000

Rules, and the Quality Family Planning Guidelines was further reinforced by Congress in 2010,

when Congress passed the Patient Protection and Affordable Care Act (“ACA”).50 Section 1554

of the ACA is titled “Access to Therapies” and explicitly prevents HHS from enacting regulations

that create unreasonable barriers to obtaining medical care and that bar health care providers from

making full and fair disclosures of treatment options to their patients.

          56.      Section 1554 reads:

                    Notwithstanding any other provision of this Act, the Secretary of
                    Health and Human Services shall not promulgate any regulation
                    that— (1) creates any unreasonable barriers to the ability of
                    individuals to obtain appropriate medical care; (2) impedes timely
                    access to health care services; (3) interferes with communications
                    regarding a full range of treatment options between the patient and
                    the provider; (4) restricts the ability of health care providers to
                    provide full disclosure of all relevant information to patients
                    making health care decisions; (5) violates the principles of
                    informed consent and the ethical standards of health care

48
  CDC, Providing Quality Family Planning Services: Recommendations of CDC and the U.S. Office of Population
Affairs, 63 MORBIDITY & MORTALITY WKLY. REP. RECOMMENDATIONS & REP., Apr. 25, 2014, at 1,
https://www.cdc.gov/mmwr/preview/mmwrhtml/rr6304a1.htm?s_cid=rr6304a1_w. These standards are
incorporated into OPA’s Title X program guidance, also published in 2014. OFFICE OF POPULATION AFFAIRS,
PROGRAM REQUIREMENTS FOR TITLE X FUNDED FAMILY PLANNING PROJECTS (Apr. 2014),
https://www.hhs.gov/opa/sites/default/files/Title-X-2014-Program-Requirements.pdf.
49
     CDC, Providing Quality Family Planning Services, supra note 48, at 14 (emphasis added).
50
     Pub. L. 111–148, 124 Stat. 119 (2010) (codified as amended in scattered sections of 42 U.S.C).




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                         professionals; or (6) limits the availability of health care treatment
                         for the full duration of a patient’s medical needs.51

II.          HHS’s New Separation and Gag Rule

             A. Proposal and Review of New Rule

                57.     On May 22, 2018, HHS released a notice of proposed rulemaking (“Proposed

 Rule”) that would rescind the longstanding 2000 Rules. The Proposed Rule would, among other

 things, severely limit and in many circumstances ban Title X recipients from providing their

 patients with necessary referral and counseling for abortion services. The Proposed Rule also

 would require strict physical and financial separation between abortion services and Title X

 services.

                58.     HHS received over 500,000 comments in response to the Proposed Rule.

                59.     Most major medical associations, including the American Medical Association,52

 the American College of Obstetricians and Gynecologists,53 the American College of

 Physicians,54 the American Academy of Family Physicians,55 the American Academy of




      51
           42 U.S.C. § 18114 (2012).
       Letter from James L. Madara, CEO & Exec. Vice President, Am. Med. Ass’n, to Alex Azar, Sec’y, U.S. Dep’t of
      52

      Health & Human Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-179739.
      53
        Letter from Lisa M. Hollier, President, Am. Coll. of Obstetricians & Gynecologists, to Alex Azar, Sec’y , U.S.
      Dep’t of Health & Human Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-
      179339.
       Letter from Ana María López, President, Am. Coll. of Physicians, to Alex Azar, Sec’y , U.S. Dep’t of Health &
      54

      Human Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-184400.
       Letter from John Meigs, Jr., Bd. Chair, Am. Acad. of Family Physicians, to Alex Azar, Sec’y, U.S. Dep’t of
      55

      Health & Human Servs. (July 25, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-102966.




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Nursing,56 and the American Academy of Pediatrics,57 have submitted comments publicly

opposing the Proposed Rule.

        60.      The organizations opposed the Proposed Rule for numerous reasons, including

because it would interfere with the relationship between patients and their health care providers,

threaten patient confidentiality, undermine patients’ access to evidence-based family planning

methods, exclude providers that separately offer abortion services from receiving Title X funds,

and restrict patients’ access to care.

        61.      Numerous members of the U.S. Senate58 and House of Representatives,59 as well

as several states,60 spoke out against the Proposed Rule, citing the detrimental effects the

proposed changes would have on the Title X program. In total, nearly 200 legislators submitted

comments opposing the Proposed Rule.




 56
   Letter from Karen S. Cox, President, Am. Acad. of Nursing, to Alex Azar, Sec’y, U.S. Dep’t of Health & Human
 Servs. (July 26, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-106624.
 57
   Letter from Colleen A. Kraft, President, Am. Acad. of Pediatrics, and Deborah Christie, President, Soc’y for
 Adolescent Health & Med., to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
 https://www.regulations.gov/document?D=HHS-OS-2018-0008-181588.
 58
   Letter from 25 U.S. Senators to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (July 25, 2018),
 https://www.regulations.gov/document?D=HHS-OS-2018-0008-107356.
 59
   Letter from 173 Members of the House of Representatives, to Alex Azar, Valerie Huber, and Diane Foley, U.S.
 Dep’t of Health & Human Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-
 184863.
 60
   See, e.g., Letter from 14 Democratic Governors, to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (May
 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-204415; Letter from Andrew M. Cuomo,
 Governor, State of N. Y., to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (July 30, 2018),
 https://www.regulations.gov/document?D=HHS-OS-2018-0008-155772; Letter from Jay Inslee, Governor, State of
 Wash., to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
 https://www.regulations.gov/document?D=HHS-OS-2018-0008-190685; Letter from Bruce S. Anderson, Dir. of
 Health, State of Haw. Dep’t of Health, to Diane Foley, Deputy Assistant Sec’y, U.S. Dep’t of Health & Human
 Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-185729.




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       62.      Major Title X providers, including Planned Parenthood,61 and policy and research

organizations such as the Guttmacher Institute,62 the American Civil Liberties Union,63 and the

National Family Planning & Reproductive Health Association64 described the significant negative

impacts the Proposed Rule would likely have on patients, particularly members of vulnerable

populations, including women of color, LGBTQ+ women, and victims of intimate partner

violence. These comments—like many others—cited to a myriad of empirical studies, case

studies, and other research indicating the dramatic unfavorable outcomes likely to result from the

Proposed Rule. In addition, a number of organizations representing public health professionals 65

and community health centers,66 along with thousands of individual Americans from across the

country67 submitted comments expressing grave concerns about the Proposed Rule as drafted.


61
  See, e.g., Letter from Dana Singiser, Vice President of Pub. Policy & Gov’t Relations, Planned Parenthood Action
Fund, to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-198841.
62
  Letter from Rachel Benson Gold, Vice President for Pub. Policy, Guttmacher Inst., to Office of Population
Affairs, U.S. Dep’t of Health & Human Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-
2018-0008-178129.
63
  Letter from Faiz Shakir and Georgeanne M. Usova, Am. Civil Liberties Union, Office of Population Affairs, U.S.
Dep’t of Health & Human Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-
190184.
64
  Letter from Clare Coleman, President & CEO, Nat’l Family Planning & Reprod. Health Ass’n, to Diane Foley,
Deputy Assistant Sec’y for Population Affairs, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-192227.
65
  E.g., Letter from Georges C. Benjamin, Executive Director, Am. Pub. Health Ass’n, to Alex Azar, Sec’y, U.S.
Dep’t of Health & Human Servs. (July 30, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-
156243.
66
  E.g., Letter from Tom Van Coverden, President & CEO, Nat’l Ass’n of Cmty. Health Ctrs., to Office of the
Assistant Sec’y for Health, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-177172.
67
  Some commenters organized their submissions through organizations such as CREDO Action. E.g., Letter from
Nicole Regalado, Campaign Manager, CREDO Action, to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs.
(Aug. 6, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-200769 (attaching 51,018
comments from individuals opposing the Proposed Rule). Many others submitted comments directly, taking the
opportunity to express the impact of Title X services on their lives and the harm the Proposed Rule would cause.
See, e.g., Letter from Jodi Bolduc to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (July 25, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-89886 (describing reliance on Maine Family
Planning’s confidential Title X services as a teenager and visiting with her daughters for a contraceptive visit).




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       63.      The Proposed Rule received overwhelmingly negative responses from the Maine-

based organizations that submitted comments. Maine chapters of national organizations such as

Maine Family Planning,68 the American Civil Liberties Union of Maine,69 and the Maine Section

of the American College of Obstetricians and Gynecologists,70 submitted comments describing

the disproportionate impact the Proposed Rule would have on residents of this largely rural

state.71 Organizations local to the state, including Maine Equal Justice Partners,72 Grandmothers

for Reproductive Rights,73 and the Maine Coalition Against Sexual Assault74 also articulated their

opposition to the Proposed Rule and its significant drawbacks.

       64.      On February 22, 2019, HHS posted a draft of the final rule on its website. The

Rule was published in the Federal Register on March 4, 2019. Notwithstanding the hundreds of

thousands of comments submitted to HHS, the Rule is largely identical to the Proposed Rule.

       65.      The Rule makes sweeping changes to the requirements for Title X family planning

recipients. Among other things, the Rule severely restricts Title X recipients’ ability to provide


68
  Letter from George A. Hill, President & CEO, Family Planning Ass’n of Me., to Diane Foley, Deputy Assistant
Sec’y for Population Affairs, U.S. Dep’t of Health & Human Servs. (July 30, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-155939.
69
  Letter from Oamshri Amarasingham, Advocacy Dir., Am. Civil Liberties Union of Me., to Diane Foley, Deputy
Assistant Sec’y for Population Affairs, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-180549.
70
  Letter from Danielle M. Salhany, Chair, Me. Section of the Am. Coll. of Obstetricians & Gynecologists, to Alex
Azar, Sec’y, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-183469.
71
  U.S. CENSUS BUREAU, MAINE: 2010 POPULATION AND HOUSING UNIT COUNTS 2 (2010); Press Release, U.S.
Census Bureau, Growth in Urban Population Outpaces Rest of Nation (Mar. 26, 2012) (reporting Maine as the
nation’s most rural state).
72
  Letter from Kathy Kilrain del Rio, Policy Analyst, Me. Equal Justice Partners, to Alex Azar, Valerie Huber, and
Diane Foley, U.S. Dep’t of Health & Human Servs. (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-200662.
73
 Letter from Judy G. Kahrl, PhD, Founder, Grandmothers for Reprod. Rights, to Alex Azar, Sec’y, U.S. Dep’t of
Health & Human Servs. (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-161182.
74
  Letter from Elizabeth Ward Saxl, Exec. Dir., Me. Coal. Against Sexual Assault, to Alex Azar, Valerie Huber, and
Diane Foley, U.S. Dep’t of Health & Human Servs. (July 30, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-182456.



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their patients with abortion referrals and requires strict physical and financial separation of Title X

and abortion services.

          66.     Compliance with the physical separation requirement is required within one year

of publication of the final rule. Compliance with the financial separation requirement and

changes to the reporting requirements is required within 120 days of publication of the final rule,

by July 2, 2019. The Rule contains conflicting deadlines for compliance with the referral ban:

compliance with some portions of the regulation that bear on the referral ban is required within

120 days of publication of the final rule, by July 2, 2019, while compliance with other portions is

required within 60 days, by May 3, 2019. All other requirements must be met within 60 days

following publication of the final rule, by May 3, 2019.

       B. Referral Prohibition and Directive Counseling Requirements

          67.     The Rule prohibits Title X recipients from providing their patients with necessary

referrals for abortion care, even for patients who specifically request such a referral.

          68.     In a section of the Rule captioned “Prohibition on referral for abortion,” the Rule

states that “[a] Title X project may not perform, promote, refer for, or support abortion as a

method of family planning, nor take any other affirmative action to assist a patient to secure such

an abortion.”75 Under this provision, even when a pregnant patient explicitly requests a referral

for abortion, a health care provider is prohibited from speaking to their patient about their referral

options. The provider cannot even provide a list of the available abortion providers, much less

speak to their patient about which abortion provider could meet their particular needs and why.

          69.     At most, the Rule allows the medical professional to provide the patient “a list” of

“licensed, qualified, comprehensive primary health care providers (including providers of prenatal


75
     Compliance With Statutory Program Integrity Requirements, 84 Fed. Reg. at 7,778–89.



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care), some, but not the majority, of which also provide abortion as part of their comprehensive

services.”76 The list thus may include abortion providers, but only if those abortion providers also

offer comprehensive primary health care services. Health professionals are prohibited from

including on the list any providers who only offer abortion services, even if those are the only

abortion providers in the region. Further, while the list “may” include abortion providers, it does

not need to include any, even if a patient explicitly asks for a referral to an abortion provider.77

            70.       By these terms, the Rule compels Title X providers to withhold the identities of

most abortion providers, since most abortion providers do not also offer the full spectrum of

primary care. The Rule further requires providers to withhold medical advice about which

abortion providers are most appropriate for their patients’ needs and medical circumstances. In

sum, when a patient seeks an abortion referral, the list she can receive at best must: (1) include a

majority of health care providers who will not offer the patient the care she seeks; and (2) exclude

providers who can offer that necessary care because they do not also offer other services that are

unnecessary for the patient.

            71.       Moreover, even to the extent there may sometimes be an abortion provider on the

allowable “list” a patient receives, the list “cannot be used to indirectly refer for abortion or to

identify abortion providers to a client,”78 and the Rule makes explicit that “[n]either the list nor

project staff may identify which providers on the list perform abortion.”79 This means medical

professionals cannot even tell their patients that the list is responsive to their request for a referral

to an abortion provider at all, much less which provider on the “list” performs abortions or that



 76
      Id. at 7,789.
 77
      Id.
 78
      Id. at 7,761.
 79
      Id. at 7,789.



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there are other, more appropriate abortion care options available, even if the patient specifically

asks for this information. The patient would be left to locate publicly-available information,

much of which is unreliable with respect to abortion,80 without any guidance from a medical

professional, much less one who is familiar with her medical history.

           72.       At the same time, the Rule mandates that the staff of Title X recipients are

compelled to provide all pregnant patients with directive counseling by giving them a referral for

prenatal services. These medical professionals must provide that prenatal referral regardless of

whether the patient has requested such a referral, and even if it is against the medical judgment of

the health professional to provide that prenatal referral to that particular patient absent any such

request.81 The preamble to the Rule purports to justify this requirement on the incongruous basis

that prenatal referrals are “medically necessary for the health of the pregnant mother, as well as

the unborn baby.”82 The Rule does not explain why or how prenatal care is “medically

necessary” for a woman seeking an abortion.

           73.       In addition to mandating directive counseling by requiring referrals for prenatal

care and prohibiting referrals for abortion, the Rule also allows further directive options

counseling for prenatal care and post-conception adoption. The Rule provides that a Title X


80
  The preamble includes a conclusory, unsupported statement that “[i]information about abortion and abortion
providers is widely available and easily accessible, including on the internet,” id. at 7,746, but Maine Family
Planning’s experiences with patients demonstrate that this is not the case in Maine. In part, many Maine Family
Planning patients have difficulty accessing the internet.
81
   The Rule also requires Title X providers to “offer either comprehensive primary health services onsite or have a
robust referral linkage with primary health providers who are in close physical proximity, to the Title X site, in order
to promote holistic health and provide seamless care.” Id. at 7,788. But, the Rule fails to provide any information
about what constitutes “close physical proximity,” which would mean something very different in a populous state
like New York versus a rural state like Maine. In addition to being so vague as to be unworkable, this requirement
is counter to the purposes of the Title X program. On its face, it would mean that a Title X site could be excluded
from the program based on the absence of nearby health providers—thereby eliminating the only source of health
care in a particular location and leaving patients with no “proximate” health care options at all.
82
     Id. at 7,728.




                                                          26
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provider may opt to provide only “[r]eferral to social services or adoption agencies; and/or

[i]nformation about maintaining the health of the mother and unborn child during pregnancy.”83

In other words, a Title X provider can selectively inform pregnant patients about only their

options for prenatal care and adoption, without providing any information about abortion,

including, but not limited to, the availability of abortion and whether it is an option for that

patient.

            74.       On the other hand, the Rule states that a Title X provider “may also choose to

provide” “nondirective pregnancy counseling,” but only when provided by physicians or

advanced practice practitioners (“APPs”), 84 and then only if he or she also provides information

about at least one other option (prenatal care or adoption) in conjunction with any counseling

about abortion.85 The doctor or APP is required to provide information about prenatal care or

adoption, regardless of whether the patient wants or needs that additional information, and even if

the patient explicitly asks that it not be provided.

            75.       Moreover, notwithstanding the Rule’s purported allowance for “nondirective

pregnancy counseling” that presents abortion as one of several options, the Gag Rule provides no

guidance as to how a physician or an APP can practically provide information about abortion

without arguably violating the Gag Rule. The Rule bans any speech that could be interpreted to

“promote” or “support abortion as a method of family planning,” as well as any speech during



 83
      Id. at 7,789.
 84
   Id. The Rule defines APP to mean “a medical professional who receives at least a graduate level degree in the
 relevant medical field and maintains a license to diagnose, treat, and counsel patients. The term [APP] includes
 physician assistants and advanced practice registered nurses.” Id. at 7,787. This definition both fails to properly
 reflect the qualifications of individuals licensed as midlevel health care professionals, and does not account for the
 fact that other health care professionals are qualified and often better situated to provide options counseling to
 pregnant patients in some circumstances.
 85
      Id. at 7,747.




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counseling or in connection with the permitted list of “comprehensive primary health care

providers” that could be interpreted “as an indirect means of encouraging or promoting abortion

as a method of family planning.”86 The Rule fails to adequately define or explain these terms, and

it is entirely unclear how a doctor or APP could explain the availability of abortion to a patient in

a manner that would not be interpreted as a violation.

           76.       Indeed, the preamble to the Rule even recognizes the vague and overbroad nature

of its restrictions, warning that “providers must be careful that nondirective counseling related to

abortion does not diverge from providing netural, nondirective information into encouraging or

promoting abortion as a method of family planning, or into referral for abortion as a method of

family planning.”87 It goes on to state that “[t]he Department anticipates that it may provide

further guidance to grantees on this issue” without any timeline for delivery of such guidance.88

       C. Separation Requirements

           77.       In a sharp departure from prior standards, the new Rule requires a strict physical

and financial separation of Title X and abortion services. The Rule gives the Secretary of HHS

discretion to determine whether there is a violation of the separation requirements based on a

“review of facts and circumstances.”89 The Rule enumerates a non-exclusive list of factors the

Secretary must consider as part of the review, including:

                     (a) The existence of separate, accurate accounting records; (b) The
                     degree of separation from facilities (e.g., treatment, consultation,
                     examination and waiting rooms, office entrances and exits, shared
                     phone numbers, email addresses, educational services, and
                     websites) in which prohibited activities occur and the extent of

86
     Id. at 7,788–89.
87
     Id. at 7,746.
88
     Id.
89
     Id. at 7,789.




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                     such prohibited activities; (c) The existence of separate personnel,
                     electronic or paper-based health care records, and workstations;
                     and (d) The extent to which signs and other forms of identification
                     of the Title X project are present, and signs and material
                     referencing or promoting abortion are absent.90

           78.       This non-exhaustive list leaves Title X recipients with little way of knowing

whether they are in compliance with the Rule. The preamble also suggests that hospitals and

freestanding clinics will be treated differently under the Rule: for freestanding clinics like Maine

Family Planning, “physical separation might require more circumstances to be taken into account

in order to satisfy a clear separation between Title X services and abortion services.”91 Grantees

will be forced to go to the far end of the spectrum in order to ensure compliance, lest they expend

substantial resources and still remain at risk. Or they may have no choice but to forgo offering

abortion services altogether because it is the only way they can be guaranteed to be found in

compliance. Non-compliance can subject grantees to remedies up to and including forfeiting

funds awarded in the ongoing grant cycle as well as exclusion from future rounds of funding.92

       D. Restrictions on the Use of Title X Funds

           79.       The Rule includes new and broader restrictions that directly target the use of Title

X funding for infrastructure building. Under the Rule, “[g]rantees must use the majority of grant

funds to provide direct services to clients . . . .”93 But, without explanation, the Rule defines

“infrastructure” so broadly as to include “bulk purchasing of contraceptives or other medical

supplies,” as well as “clinical training for staff”and “community outreach.”94


90
     Id.
91
     Id. at 7,767.
92
     45 CFR § 75.371 (2018).
93
     Id.
94
     84 Fed. Reg. at 7,790.




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           80.       The Rule prohibits providers who participate in the Title X program from

participating in “activities that encourage, promote or advocate for abortion”95 by, among other

things, requiring physical and financial separation of such activities, including “lobbying for the

passage of legislation to increase in any way the availability of abortion as a method of family

planning,” “using legal action to make abortion available in any way as a method of family

planning,” and “developing or disseminating in any way materials (including printed matter,

audiovisual materials and web-based materials) advocating abortion as a method of family

planning,” including making brochures for clinics providing abortions available anywhere in the

same place where Title X services are provided.96

       E. Reporting Requirements

           81.       The Rule also imposes new reporting requirements on Title X grantees that are

vague and unduly burdensome. Title X grantees must provide assurance “satisfactory to the

Secretary” that it does not provide abortion, that it complies with the Rule’s restrictions on

referral for abortion, that it maintains physical separation of any abortion services and family

planning services, and that it does not conduct any “activities that encourage, promote or advocate

for abortion.”97 The Rule provides no explanation of what would be deemed “satisfactory to the

Secretary,” only that “[s]uch assurance must also include, at a minimum, representations

(supported by documentary evidence where the Secretary requests it) as to compliance with . . .

each of the requirements.”98




95
     Id. at 7,789.
96
     Id. at 7,790.
97
     Id. at 7,788.
98
     Id.




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             82.       The Rule also requires Title X grantees to report a “[d]etailed description of the

extent of the collaboration with subrecipients, referral agencies, and any individuals providing

referral services.”99

        F. New Restrictions on Care for Adolescents

             83.       The Rule imposes new requirements on Title X services for adolescents that will

erect unnecessary and harmful barriers for minors seeking important reproductive health care.

Until now, minors have always been afforded confidential access to Title X services without any

program requirement that they obtain consent from a parent or guardian. Indeed, many minors

seek out contraception and other reproductive health services from Title X clinics precisely

because Title X clinics are the only health care option that promises to maintain their privacy and

confidentiality.

             84.       Under the Rule, however, a minor can only be found financially eligible for

subsidized Title X services if their provider documents “specific actions taken by the provider to

encourage the minor to involve her/his family (including her/his parents or guardian) in her/his

decision to seek family planning services.”100 The Rule does not provide any explanation of what

constitutes “specific actions” that would be sufficient to meet this requirement, and the only

exceptions are when the provider suspects child abuse or incest and has reported the situation to

relevant state or local authorities consistent with applicable state law.101

             85.       Even if minors are able to pay for Title X services out-of-pocket, the provider still

must document in their medical record what specific actions were taken to encourage family



 99
      Id.
 100
       Id. at 7,787.
 101
       Id.




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participation or else the reason why family participation was not encouraged.102 The Rule fails to

explain the purposes of this requirement, or how the documented information is intended to be

used and by whom.

        G. Justifications for and Cost-Benefit Analysis of the Rule

            86.        Defendants’ justification for the Rule fails to assess its true costs; ignores its health

consequences; and is based upon unfounded assumptions that the Rule will expand coverage and

patient access to services, will improve quality of service, and will not cause an increase in

unintended pregnancies.103 Defendants’ cost-benefit analysis of the Rule is thus fundamentally

deficient.

            87.        Defendants assert that the Rule’s separation requirement is justified in order to

protect against “the intentional or unintentional co-mingling of Title X resources with non-Title X

resources or programs.”104 However, Defendants identify no direct evidence of misuse of funds

contrary to Section 1008,105 despite the fact that Title X has been in existence for decades and

Title X providers are subject to detailed reporting and audit requirements. Instead, Defendants

point only to the “potential for confusion,”106 and cite examples of abuse in other federal

programs,107 as a meager attempt to suggest that there is a need for clarity.


 102
       Id. at 7,785.
 103
       Id. at 7,732, 7,741, 7,782.
 104
       Id. at 7,715.
 105
       Id. at 7,715, 7,725, 7,764, 7,765, 7,777.
 106
       Id. at 7,725.
 107
    Id. In the notice of proposed rulemaking, HHS pointed to only two examples of potential misuse of funds by Title
 X grantees or subrecipients. Compliance With Statutory Program Integrity Requirements, 83 Fed. Reg. 25,502,
 25,509–10 (proposed June 1, 2018). In the Final Rule, HHS argues only generally that “examples of abuse in other
 Federal programs help illustrate the need for clarity with respect to permissible and impermissible activities in
 connection with the Title X program and Title X funds.” 84 Fed. Reg. at 7,725. In a footnote, HHS cites to a paper
 from the Lozier Institute—an arm of the anti-abortion group Susan B. Anthony List—that includes the two examples
 HHS had cited in the notice of proposed rulemaking, but does not provide any other examples. Id. n.33.




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            88.      In the face of these unfounded and purely speculative benefits, Defendants

dramatically underestimate the costs of the separation requirement, asserting that it will be $36.08

million nationwide, or between $20,000 and $40,000 per site.108 At a minimum, the costs of one-

time physical separation alone will significantly exceed this amount.

            89.      Defendants also assume without evidence that there will be no reduction in Title X

services, asserting without basis that current providers will not be driven out of the program and

that, in any event, new grantees will take the place of any grantees that leave.109 Yet, Planned

Parenthood and at least four states have already explained in comments that they will withdraw

from the program if the Rule goes into effect, and experience shows that new grantees are

unlikely to provide a sufficient substitute in quantity or quality. In rural areas in particular, there

are shortages of primary and specialty health care providers, making it unlikely that rural areas

will see a proliferation of new family planning organizations to take the place of current Title X

grantees leaving the program. Moreover, while Defendants state that “new providers who

previously were unable to participate in Title X projects due to conscience concerns” will now

apply to and participate in a Title X project, experience suggests instead that new organizations

are unlikely to apply to and become successful Title X grantees, particularly without significant

transition costs.

            90.      Because Defendants assume there will be no reduction in Title X services provided

under the Rule, they do not consider any costs related to the reduction in services the Rule will

cause. For one, Defendants somehow do not expect an increase in unintended pregnancies,

stating that they are unaware of “actual data that could demonstrate a causal connection between”


 108
       84 Fed. Reg. at 7,781–82.
 109
       Id. at 7,723, 7,749, 7,782.




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the Rule and “an increase in unintended pregnancies, births or costs associated with either.”110

This does not account for evidence in the record that the loss even of just Planned Parenthood

alone from the Title X program is likely to lead to a “decline in the use of the most effective

methods of birth control and an increase in births among women who previously used long-acting

reversible contraception.”111

           91.        Likewise, Defendants claim there will be no costs associated with either the Rule’s

removal of the nondirective pregnancy counseling requirement, or the Rule’s prohibition on

abortion referral.112 Defendants justify both changes by claiming the Rule will provide more

“flexibility” for applicants that may not have applied to Title X due to purported “burdens on

conscience” imposed by the requirement to provide nondirective pregnancy counseling and

referrals for abortion. But Defendants acknowledge that “[t]he Title X statute has coexisted with

federal conscience laws for over 40 years”113 without incident, and again cite no evidence to



110
      Id. at 7,775.
111
    American Academy of Nursing, Comment Letter on Proposed Rule for Compliance with Statutory Program
Integrity Requirements 3 (July 26, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-106624
(citing Amanda J. Stevenson et al., Effect of Removal of Planned Parenthood from the Texas Women’s Health
Program, 374 NEW ENG. J. MED. 853 (2016)); see also U.S. House of Representatives, Comment Letter on
Proposed Rule for Compliance with Statutory Program Integrity Requirements 7 (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-184863 (“[T]he consequent changes in the Title X
system are likely to increase unintended-pregnancy rates in the most vulnerable segments of the population and are
thus more likely to increase than to reduce the incidence of abortions.” (internal quotation marks omitted) (quoting
Janet M. Bronstein, Radical Changes for Reproductive Health Care—Proposed Regulations for Title X, 379 NEW
ENG. J. MED. 706 (2018))); Planned Parenthood Federation of America, Comment Letter on Proposed Rule for
Compliance with Statutory Program Integrity Requirements 18 (July 31, 2018),
https://www.regulations.gov/document?D=HHS-OS-2018-0008-198841 (“In 2015, the Guttmacher Institute
estimated that Planned Parenthood’s provision of contraceptive services averted 430,000 unintended pregnancies.”
(citing Unintended Pregnancies and Abortions Averted by Planned Parenthood, 2015, GUTTMACHER INST. (June 13,
2017), https://www.guttmacher.org/infographic/2017/unintended-pregnancies-and-abortions-averted-planned-
parenthood-2015)); American Civil Liberties Union, Comment Letter on Proposed Rule for Compliance with
Statutory Program Integrity Requirements 2 (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-
2018-0008-190184 (“The proposed rule’s disruptions to the nation’s Title X network and prohibitions on standard
medical care would lead to more unintended pregnancies . . . .”).
112
      84 Fed. Reg. at 7,719.
113
      Id. at 7,747.




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  demonstrate that there will be an expanded number of medical providers participating in Title X

  after removing the abortion counseling and referral requirements.114

                   92.       Defendants acknowledge that there are no quantified benefits associated with the

  Rule, pointing only to non-quantified benefits such as the “program integrity of Title X.”115

III.          Implementation of the Rule in the State of Maine

                   93.       Implementation of the Rule will meaningfully damage the provision of both family

  planning services and abortion care in Maine. Maine Family Planning, which is the state’s only

  Title X grantee and the provider or funder of much of Maine’s family planning services and

  abortion care, will be forced to significantly cut its services as a direct result of the Rule. The

  rurality and poverty in Maine will exacerbate the effects of those cuts and the resulting hardships.

              A. Geography and Demographics of Maine

                   94.       Maine is the most rural state in the country, with more than 60% of the population

  living outside of urban areas.116 Maine’s diverse geography includes thousands of miles of

  coastline, 15 year-round inhabited islands, and the highest percent of forest-covered land area

  (89%) of any state in the nation.117 Of Maine’s 1.3 million inhabitants, 61.3% reside in rural

  areas.118 Maine’s three largest cities, Portland (66,715), Lewiston (36,211), and Bangor (32,237),



       114
             Id. at 7,777.
       115
             Id.
       116
          U.S. CENSUS BUREAU, MAINE: 2010 POPULATION AND HOUSING UNIT COUNTS 2 tbl. 2 (2012),
       https://www2.census.gov/library/publications/decennial/2010/cph-2/cph-2-21.pdf; Press Release, U.S. Census
       Bureau, Growth in Urban Population Outpaces Rest of Nation (Mar. 26, 2012),
       https://www.census.gov/newsroom/releases/archives/2010_census/cb12-50.html.
       117
          COLBY, ENVTL. POLICY GRP., THE STATE OF MAINE’S ENVIRONMENT 108 (2014),
       http://web.colby.edu/stateofmaine2014/files/2012/09/2014-Full-Report-Draft.pdf (“15 unbridged Maine islands
       support year-round populations.”); U.S. DEP’T OF AGRIC., FOREST INVENTORY AND ANALYSIS: FISCAL YEAR 2016
       BUSINESS REPORT 71 tbl. B-11 (2017), https://www.fs.fed.us/sites/default/files/fs_media/fs_document/publication-
       15817-usda-forest-service-fia-annual-report-508.pdf (showing 89% of forest-covered land area).
       118
             See sources cited in note 116, supra.




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contain only 10% of the state’s population (1,330,158).119 Fourteen of Maine’s 16 counties are

more than 50% rural; nine of the 16 are more than 80% rural.120

          95.     Geography and low population density account for many of the challenges rural

Mainers face in accessing health care. Interstate 95, which in winter weather is usually reduced to

one lane north of Orono and is occasionally closed, is the sole north-south highway and

transportation within and among counties is limited. The long distances and excessive travel time

are major obstacles to accessing health care, especially with limited public transportation outside

of Portland. The more remote and rural areas, with low population densities, have fewer health

care choices compared with the more heavily populated southern counties.

          96.      There are also several economic indicators that directly affect Maine residents’

need for subsidized family planning services, including income, poverty rates, and insurance

coverage.

          97.      Poverty is a significant problem in Maine. Nearly 13% of Maine residents,121 and

42.1% of single mothers in the State,122 have incomes at or below the federal poverty level

($12,060 for a single person and $20,420 for a family of three). The poverty rate is

disproportionately high among women of color: 51.3% of African-American women, 27.8% of



119
   U.S. CENSUS BUREAU: AMERICAN FACT FINDER,
https://factfinder.census.gov/faces/nav/jsf/pages/community_facts.xhtml?src=bkmk (enter desired city or state in top
search bar; then select “2015 ACS 5-Year Population Estimate” from “Population” drop-down) (last visited Mar. 1,
2019).
120
      MAINE: 2010 POPULATION AND HOUSING UNIT COUNTS, supra note 116, at 9 tbl. 7.
121
    U.S. CENSUS BUREAU: AMERICAN FACT FINDER,
https://factfinder.census.gov/faces/nav/jsf/pages/community_facts.xhtml?src=bkmk (enter “Maine” in top search
bar; then select “2015 ACS 5-Year Population Estimate” from “Population” drop-down; then select “Poverty” in left
column) (last visited Feb. 28, 2019).
122
    INST. FOR WOMEN’S POLICY RES., THE STATUS OF WOMEN IN THE STATES, 2015, at 158 (2015),
https://iwpr.org/wp-content/uploads/wpallimport/files/iwpr-export/publications/R400-FINAL%208.25.2015.pdf.




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Latina women, and 35.5% of Native American women in Maine were living in poverty between

2011 and 2013.123 It is also higher in Maine’s more rural counties: Aroostook, Oxford,

Penobscot, Piscataquis, Somerset, and Washington Counties all have poverty rates over 15%; the

rate in Piscataquis and Washington Counties is over 18%.124

        98.      Lack of health insurance and limited coverage also are barriers to accessing health

care in Maine. 9% of Mainers lack health insurance.125 Title X subsidized services, in addition to

accepting Medicaid, provide a safety net for uninsured and underinsured Mainers. Thus, while a

patient may come in primarily seeking contraception, STI testing, or pregnancy testing, the

relationship with their provider reaches far beyond simply dispensing a pack of birth control pills.

      B. History and Scope of Services Provided by Maine Family Planning

        99.      Maine Family Planning was founded in 1971 for the express purpose of competing

for, receiving, distributing, and managing the Title X grant for the state of Maine—and to do so in

a manner that addresses the complex geography and challenges faced by Mainers.

        100.     For forty-eight years, Maine Family Planning has been the sole statewide Title X

grantee for Maine. Thus, Maine Family Planning’s compliance with all Title X rules and

regulations has been tested and confirmed over the course of decades, both by OPA and by a




123
   INST. FOR WOMEN’S POLICYY RES., THE STATUS OF WOMEN IN MAINE, 2015: HIGHLIGHTS 3 (2015),
http://statusofwomendata.org/app/uploads/2015/08/Maine-Fact-Sheet.pdf. Because the federal poverty level does
not take into account the cost of child care, medical expenses, utilities, or taxes, these statistics undercount the
number of Maine residents who are struggling to make ends meet.
124
   U.S. CENSUS BUREAU: AMERICAN FACT FINDER,
https://factfinder.census.gov/faces/nav/jsf/pages/community_facts.xhtml?src=bkmk (enter county name in top
search bar; then select “2015 ACS 5-Year Population Estimate” from “Population” drop-down menu; then select
“Poverty” in left column) (last visited Feb. 28, 2019).
125
   U.S. CENSUS BUREAU: AMERICAN COMMUNITY SURVEY, https://www.census.gov/acs/www/data/data-tables-and-
tools/data-profiles/2017/ (enter “Maine” in left drop-down menu; then select “Economic Characteristics” from the
hyperlinks listed below) (last visited Feb. 28, 2019).



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diverse and frequent array of auditors. Neither OPA nor any other government or independent

auditor has ever found a violation of the Title X requirements by Maine Family Planning.

       101.    Maine Family Planning began as an umbrella agency, subcontracting with eight

other non-profits in other parts of Maine to provide Title X-supported services for low-income

women and teens. Maine Family Planning’s role during its first 15 years included grant

management, training, some research, and advocacy.

       102.    Beginning in April 1997, Maine Family Planning started providing abortion care,

using resources independent from the Title X program. Maine Family Planning’s decision to

separately provide abortion was in response to a growing dearth of abortion services in the region.

This need became critical after several violent incidents against abortion providers in the region,

including a 1994 mass shooting at Planned Parenthood clinics in Brookline, Massachusetts that

resulted in multiple fatalities, caused existing providers throughout New England to stop

providing abortion services. Maine Family Planning thus elected to fill the resulting gap in

necessary health care for the people of Maine, working closely with the Maine State Attorney

General’s Office of Civil Rights to facilitate that effort. To that end, Maine Family Planning

identified and purchased a stand-alone building in North Augusta, which would serve as Maine

Family Planning’s headquarters and would include a clinical space fully equipped to offer first

trimester abortion care.

       103.    In 1997, Maine Family Planning decided to end its subcontract with the local

agency providing family planning services in Augusta, and to hire its family planning staff in

order to co-locate family planning services with the abortion care services already being provided

at Maine Family Planning’s new headquarters site. Maine Family Planning began offering Title

X services in its Augusta building in July 1998, a year after its initiation of abortion services.




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       104.     Over the course of the following decade, Maine Family Planning also took direct

control over other family planning clinics. By 2012, Maine Family Planning directly managed 18

clinical sites where Title X services would be provided.

       105.     Today, Maine Family Planning operates eighteen family planning centers and

provides funding through subcontracts that support 29 additional sites.126 Altogether, Maine

Family Planning’s 47-site network is geographically comprehensive with sites in fifteen counties,

and meets the clinical and educational reproductive health needs of approximately 24,000

Mainers annually. As of 2018, 78% of patients qualified for free or reduced fee services.

       106.     Through Maine Family Planning’s clinics, it provides a broad range of family

planning services for individuals and families, so that they can postpone, prevent, or facilitate the

spacing of pregnancy. Services tailored to the unique needs of the individual patient include:

annual gynecological exams; screening for cervical and breast cancer; family planning

counseling; contraceptive services; preconception consultation; screening, diagnosis, and

treatment of urinary, vaginal, and sexually transmitted infections. An extensive, well-established

referral network connects clients to comprehensive primary care and other diagnostic screenings

and services, if not offered on-site. All of Maine Family Planning’s Title X services are provided

by advanced practice registered nurses (“APRNs”), i.e., certified nurse practitioners and/or

certified nurse-midwives, often with the support of medical assistants.




126
   Specifically, Maine Family Planning’s network includes: eighteen family planning clinics directly operated by
Maine Family Planning (located in Augusta, Bangor, Belfast, Calais, Damariscotta, Dexter, Ellsworth, Farmington,
Fort Kent, Houlton, Lewiston, Machias, Norway, Presque Isle, Rockland, Rumford, Skowhegan and Waterville);
four sites managed by Planned Parenthood of Northern New England (in Portland, Sanford, Topsham, Biddeford);
four FQHCs with 20 clinic sites in total (six of which are located in Portland, and others are in Belgrade, Bethel,
Bingham, Lovejoy, Madison, Mt. Abram, Rangeley, Sheepscot, Strong, Waterville, Vinalhaven); and five school-
based Health Centers (three in Portland, and one in Readfield, and one in Calais).



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        107.     At Maine Family Planning’s Augusta clinic, the organization also provides

medication abortions through ten weeks of pregnancy, as dated from the last day of a woman’s

menstrual period (“LMP”), and aspiration abortions through the end of the first trimester (i.e.,

14.0 weeks LMP). Abortion services are provided one day a week in Augusta, a day on which no

Title X services are provided at that site.

        108.     Maine Family Planning employs seven physicians part-time at its Augusta clinic,

including Plaintiff Dr. Doe, whose only role at Maine Family Planning is to provide abortion

services. Each physician works at most one or two days a month. And, except for rare occasions,

there is only one physician offering abortion services on any given day. Maine Family Planning’s

Augusta facility employs physicians for this limited purpose only because of 22 M.R.S. § 1598(3)

(“the Physician-Only Law”), which restricts the performance of an abortion in Maine to

physicians only.127

        109.     Maine Family Planning’s other seventeen clinics offer only medication abortion

through ten weeks LMP through a telehealth program, as follows: The patient is first evaluated

by an APRN trained in abortion care, including the administration or review of an ultrasound, to

ensure that she is an appropriate candidate for medication abortion. The patient then consults

with a physician via a secure, HIPAA-compliant video platform. After confirming that a

medication abortion is medically appropriate for the patient, that the patient has given informed

consent to the abortion, and that the APRN has worked with the patient to establish a

contraception plan, the physician instructs the patient to take a first pill (mifepristone) during the

real-time video encounter. The patient takes additional pills (misoprostol) as instructed at home 6




 127
    The Physician-Only Law currently is being challenged in a separate lawsuit brought by Maine Family Planning
 and others. Jenkins v. Almy, 2:17-cv-00366-NT (D. Me. filed Sept. 20, 2017).



                                                       40
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to 48 hours later. At a follow-up visit four to fourteen days later, the APRN confirms that the

abortion was complete. The use of the telehealth program is necessitated by the Physician-Only

Law as there are no physicians on site at these locations.

       110.    In accordance with longstanding Title X policy and regulations, Maine Family

Planning has always clearly and properly separated its Title X activities from non-Title X

activities, including abortion services. This is primarily done by maintaining a financial

management system that clearly separates and accounts for all expenses and revenues associated

with the Title X project. It is Maine Family Planning’s policy that only costs that are reasonable,

allowable, and allocable to a federal award will be charged to that award, either directly or

indirectly. In addition, Maine Family Plainning’s contracts with all its subgrantees require those

subrecipients to separate or identify family planning expenses as appropriate.

    C. Implementation of the Rule’s Separation Requirements by Maine Family
       Planning

       111.    In order to comply with the Rule’s separation requirements, Maine Family

Planning would have no choice but to eliminate abortion services at seventeen of its eighteen

locations, leaving at most only its abortion practice in Augusta.

       112.    As a threshold matter, it would be physically implausible for Maine Family

Planning to execute the Rule’s separation requirements and continue to provide abortion services

near its non-Augusta locations. In more rural parts of the state, it is difficult or impossible to find

landlords willing to rent space for the sole purpose of providing abortion care. Nor could Maine

Family Planning convert its existing non-Augusta clinics into multiple or “separate” spaces; the

sites are far too small and consist only of one or two exam rooms.

       113.    But, even if it were physically possible to create separate spaces for abortion care

at or near some existing Maine Family Planning clinics, the costs of creating a physically and



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financially separate entity at each site would be prohibitive. Establishing even small new clinic

sites to provide abortion care—which would require staffing, separate work stations and record-

keeping systems, and much more—would cost far more than the $20,000–$40,000 estimated in

the preamble to the Rule.128

          114.     Nor would it be logistically and financially feasible for Maine Family Planning to

create separate abortion clinics at or near its seventeen non-Augusta sites while still providing the

full range of other family planning services. Maine Family Planning provides approximately 500

abortions per year, about 75% of which typically are performed at its Augusta clinic. This

discrepancy is due to factors outside Maine Family Planning’s control, including the rural nature

of Maine which results in sparse populations in large parts of the state, as well as state legal

restrictions on who can provide abortion services in Maine.

          115.     Finally, it would be extremely challenging, if not impossible, for Maine Family

Planning to staff any such new abortion facilities in those locations. Because of Maine’s

Physician-Only Law, Maine Family Planning can offer medication abortions via telehealth at its

non-Augusta sites only on a limited number of days and times per month when the schedules of

the patient, the APRN at the non-Augusta site, and the physician all align. The resulting low

volume and unpredictable scheduling of abortion services would make it extremely difficult for

Maine Family Planning to recruit APRNs exclusively to facilitate these ad hoc telehealth

abortions.

          116.     Likewise, while Maine Family Planning could endeavor to create a separate

abortion facility near its Augusta location in order to continue providing the abortion services

currently offered at its Augusta Headquarters, it is by no means clear that it would be able to do


128
      Compliance With Statutory Program Integrity Requirements, 84 Fed. Reg. at 7,781–82.



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so. To create a new facility in Augusta, the startup costs alone would exceed $200,000, and

likely would cost much more.

       117.     Upon information and belief, it is unlikely that new health care professionals or

organizations would begin providing abortion services in Maine if Maine Family Planning were

to close its clinics, particularly in the rural areas where those clinics are located. Only physicians

are allowed by law to provide abortion in Maine, and physicians who are trained and motivated to

provide abortion services do not hesitate to make themselves known to Maine Family Planning or

its physician contractors. However, there is a very limited pool of such physicians who are

willing and able to provide abortion care. Maine Family Planning provides only telemedicine

abortions at its smaller clinics in part because its contract physicians do not live within feasible

traveling distance of those areas, and Maine Family Planning is unable to identify any other

physicians in those areas willing and able to provide abortion services.

       118.     As a result, if Maine Family Planning were to comply with the Rule’s separation

requirements, the State of Maine would go from having twenty abortion clinics to at most just

three—an 85% decrease in the number of clinics in the state. The only three remaining publicly-

accessible health centers (i.e., clinics that are open to women who are not already established

patients) where a woman would be able to obtain abortion care in Maine would be: (1) Maine

Family Planning’s Augusta clinic; (2) Planned Parenthood’s Portland Health Center; and (3)

Mabel Wadsworth Center, located in Bangor, Maine.129




129
   The only other providers of abortion care in Maine—Maine Medical Center in Portland and Central Maine
Medical Center in Lewiston—generally treat only pre-existing patients, among other limitations on their services. In
addition, neither of these other facilities advertises abortion services on their website.



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      D. Implementation of the Gag Rule by Maine Family Planning

         119.   The Gag Rule will require Maine Family Planning’s health care providers and

staff, as well as the medical professionals who work for other providers in its network, to

fundamentally alter how they speak to patients regarding their health care options. Currently,

Maine Family Planning’s APRNs and its other medical staff refer their family planning patients

who are interested in abortion services to an appropriate physician upon request. Maine Family

Planning has a state-wide network of referral options, which its APRNs and other medical staff

invoke based on each patient’s particular medical condition, location, preferences, and other

needs.

         120.   If the Gag Rule is not enjoined, abortion referral would be expressly prohibited.130

Any time a patient comes to Maine Family Planning for Title X services and also requests referral

information for abortion, the medical staff would be required to refuse to provide that

information—even if the patient has explicitly stated that she has decided to have an abortion,

even if the patient is persistent in her desire or need for that information, and even if she explains

that she does not know how to find an abortion provider on her own.

         121.   Instead, Maine Family Planning’s staff would be able to give patients who want an

abortion referral only a list of comprehensive primary health care providers. Upon information

and belief, if Maine Family Planning’s satellite clinics stop providing abortion in compliance with

the Separation Rule, there will be at most one comprehensive primary health care provider in

Maine that also provides abortion services to new patients: the Mabel Wadsworth Clinic in

Bangor. Mabel Wadsworth Clinic would, therefore, be the only abortion provider that Maine




130
    The only exception in the Rule is for cases requiring “emergency care.” Id. at 7,789. Even that narrow exception
is ambiguous at best as the Rule fails to define what constitutes an “emergency.”



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Family Planning could include on a list given to its patients—and staff would not be able to

identify Mabel as an abortion provider or even tell patients that the list contained an abortion

provider. Women of reproductive age in the state of Maine live an average of 103 miles from

Mabel, with 82% living farther than 50 miles away.

       122.     Maine Family Planning would no longer be able to refer patients to its own

abortion providers, nor could any other Title X providers refer abortion patients to it, since most

of Maine Family Planning’s sites do not provide primary care and, in any event, the

organization’s remaining abortion services, if any, would be annexed to a standalone practice in

Augusta due to the Rule’s new separation requirements.

       123.     At the same time, the Rule’s restrictions on “nondirective counseling” would

prevent Maine Family Planning’s APRNs and medical staff from engaging in an open dialogue

with their patients about abortion as an option. Indeed, some of Maine Family Planning’s medical

professionals will be prevented from speaking to patients about abortion at all because they will

not meet the Rule’s definition of APPs.131

       124.     The implementation of the Gag Rule also will be complicated, time-consuming,

and expensive. For decades, in reliance on the existing Title X program, Maine Family Planning

has been providing abortion counseling, including referrals, in a manner consistent with the

standard of care and applicable rules. All of Maine Family Planning’s existing policies, call

center scripts, and consent forms contemplate provision of these services accordingly. If the new

Rule is not enjoined, Maine Family Planning would need to create new policies, new call center


131
   While all of Maine Family Planning’s APRNs hold a specialized nursing license from the state of Maine like
those identified in the Rule as meeting the definition of APP, several of them do not have a graduate level degree
and thus would not qualify under the Rule’s definition of APP for purposes of providing “nondirective counseling.”
See id. at 7,787. These APRNs were licensed in Maine prior to the State’s graduate degree requirement for these
programs, and thus have been “grandfathered in” as allowed by the State. As recognized by the State, these APRNs
are highly qualified to provide family planning and abortion services due to their years of experience and training.



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scripts, and all new forms to address the Gag Rule.

        125.    Maine Family Planning also would need to provide robust in-person training for

both its staff and its call centers. Many people on Maine Family Planning’s staff have been

working in family planning services for decades and are experienced in providing care based on

the longstanding requirement that they must provide counseling on abortion, among other things,

and can refer for abortion services. Because the Gag Rule will require Maine Family Planning’s

staff to fundamentally alter how they interact with and treat patients, it would need to dedicate

significant resources to retrain its staff accordingly.

        126.    Finally, upon information and belief, if Maine Family Planning implements the

Rule, it is likely to lose at least PPNE as a subgrantee given Planned Parenthood’s stated intent to

stop participating in the program under the Rule. Other subgrantees may also stop participating.

When this occurs, Maine Family Planning will be required to change its scope of project for the

operative grant cycle in order to eliminate those providers from its Title X network. It will then

have to go through the complex and time-consuming process of identifying a new subgrantee in

the same region, which may not be possible. Changes of scope takes months to implement and no

services are provided by the subgrantee in the interim. Furthermore, if Maine Family Planning

does not get approval for any changes of scope, fewer patients would be served and Maine Family

Planning’s funding would likely be reduced.

     E. Impact if Maine Family Planning Were Forced to Leave the Title X Program

        127.    Alternatively, if Maine Family Planning were forced to leave the Title X program

because compliance with the Rule is untenable or impossible, the resulting impact on the

provision of both family planning and abortion services in Maine would be severe.




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        128.     As a threshold matter, any purported “choice” to forego Title X funding is no

choice at all for Maine Family Planning. Participation in the Title X program is inextricably

intertwined with Maine Family Planning’s historical mission and with its ability to operate.

Maine Family Planning’s reliance on Title X funds, in order to continue providing services at its

own sites and through its established network of subgrantees, is significant. Over 27% of Maine

Family Planning’s current annual budget comes from Title X funds. Without those funds, Maine

Family Planning would soon be forced to cut back a significant portion of its services, including

closing anywhere from 11 to 15 of its clinics, downsizing staff, and eliminating some family

planning services altogether.132 Even then, Maine Family Planning’s remaining 3 to 7 clinics

would be providing family planning services at a substantial loss, and Maine Family Planning

does not currently have access to funds that could sustain that scenario longterm. As a result,

Maine Family Planning could be forced to close even more of its few remaining clinics going

forward.

        129.     In addition, Maine Family Planning would potentially need to end its provision of

subsidized family planning services through many of its subgrantee sites. Title X funds are

indispensable to maintaining Maine Family Planning’s larger network of Title X providers.

        130.     The result of these dramatic reductions in health care services and options would

be devastating to Maine Family Planning’s patients and to the people of Maine, many of whom

have no other access to health care, much less to family planning services.




132
   While Maine Family Planning could attempt to use its limited reserve funds to forestall clinic closures for a brief
period, it does not currently have access to funds that could sustain the loss of Title X funds in the long term.



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   ANY IMPLEMENTATION OF THE RULE WILL CAUSE IMMEDIATE AND
        IRREPARABLE HARM BOTH NATIONWIDE AND IN MAINE

I. The Rule Will Irreparably Harm the Family Planning Program

          131.     By placing impossible restrictions on family planning providers, the Rule will gut

the efficacy of the Title X program and do irreparable and lasting damage to this critical public

service throughout the country, resulting in poor health outcomes for countless individuals going

forward. Even in clinics where Title X services continue to be provided, the relationship between

patients and providers will be damaged.

       A. The Rule Will Gut the Nationwide Provision of Family Planning Services

          132.     Upon information and belief, as a result of the Rule many clinics around the

country will be forced to leave the Title X program because compliance is infeasible for them.

          133.     Planned Parenthood has already stated in its comment on the Proposed Rule that

“Planned Parenthood affiliates and their health centers would be forced to discontinue their

participation in Title X if the [] Rule takes effect.”133 Planned Parenthood clinics are the source of

care for more than 40% of the approximately four million patients served through Title X.

According to the Guttmacher Institute, exclusion of Planned Parenthood from the Title X program

would create a massive surge of demand on remaining comprehensive reproductive health care

providers.134

          134.     Similarly, the governors of four states—Hawaii, New York, Oregon, and

Washington—have stated that they would reject federal funds were the Rule to go into effect.135


133
      Letter from Dana Singiser, supra note 61.
134
  Kinsey Hasstedt, Beyond Rhetoric: The Real-World Impact of Attacks on Planned Parenthood and Title X, 20
GUTTMACHER POL’Y REV. 86, 87 (2017), https://www.guttmacher.org/gpr/2017/08/beyond-rhetoric-real-world-
impact-attacks-planned-parenthood-and-title-x.
135
   Letter from David Y. Ige, Governor, State of Haw., to Alex Azar, Sec’y, U.S. Dep’t of Health & Human Servs. 1
(July 30, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-189799; Letter from Andrew M.



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Collectively, Title X providers in those four states served over 460,000 patients in 2017, over

10% of the total patients receiving care from the program.136

          135.     Title X funds comprise 19% of the funds for family planning services

nationwide—a significant percentage of the annual budget for many clinics.137 Thus, if forced to

leave the program and give up Title X funds, some family planning clinics would have no choice

but to shut their doors, and others would need to reduce their services. This inevitably would

cause demand for health services to surge at the remaining clinics, and wait times for

appointments would expand at the remaining health centers that could still afford to offer

reduced-rate services.

          136.     Non-specialized health centers, like federally qualified health centers (“FQHCs”),

do not have the capacity or the geographic distribution to absorb as many new family planning

patients as would be necessary. Studies demonstrate that, depending on the size of the remaining

supply of care in medically underserved communities, health centers could face as much as a

tripling in the number of family planning patients served based solely on the effects of excluding

Planned Parenthood from the Title X program.138 In reality, the number of patients seeking care




Cuomo, supra note 60, at 2; Press Release, Kate Brown, Governor, State of Or., Governor Brown on Federal Title X
Rollbacks on Access to Reproductive Health (July 30, 2018),
https://www.oregon.gov/newsroom/Pages/NewsDetail.aspx?newsid=2844; Press Release, Jay Inslee, Governor,
State of Wash., Inslee Statement on Protecting Washington Women from Trump Gag Rule (July 30, 2018),
https://www.governor.wa.gov/news-media/inslee-statement-protecting-washington-women-trump-gag-rule.
136
      2017 FPAR, supra note 9, at Ex. B-1.
137
      2017 FPAR, supra note 9, at A-33.
138
   As of 2015, only 60% of FQHCs even offered contraceptive care to more than 10 women per year. JENNIFER J.
FROST & MIA R. ZOLNA, GUTTMACHER INST., RESPONSE TO INQUIRY CONCERNING THE AVAILABILITY OF PUBLICLY
FUNDED CONTRACEPTIVE CARE TO U.S. WOMEN: MEMO TO SENATOR PATTY MURRAY, RANKING MEMBER, SENATE
HEALTH, EDUCATION, LABOR AND PENSIONS COMMITTEE 2 (2017),
https://www.guttmacher.org/article/2017/05/guttmacher-murray-memo-2017.




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at remaining health centers is likely to grow at an even greater rate because clinics outside the

Planned Parenthood network will also have to leave the Title X program as a result of the Rule.

       137.     Moreover, many family planning providers are located in geographic areas that are

nowhere near other health care options, much less other centers that provide contraceptive care.139

Thus, even assuming arguendo that other health centers had capacity to absorb increased demand

in their existing locations, patients will be discouraged from accessing care as a result of

increased travel distances and resulting costs. A study of the effects of closures of women’s

health clinics in Wisconsin (due to funding cuts aimed at clinics affiliated with providers of

abortion services) and in Texas demonstrated that an increase in distance to the nearest provider

decreased utilization of preventive care, with the greatest effect on individuals with less

education.140

       138.     That family planning clinics will be driven to close or to cut services by the Rule,

and that patient care will be harmed as a result, is predictable based on the results of similar

restrictions that have been imposed by state governments. In recent years, both Texas and Iowa

have passed legislation that excluded providers of abortion from state family planning programs.

A study in Texas, conducted two years after this legislation along with companion measures

cutting family planning budgets were enacted, found that roughly one quarter of the state’s family

planning clinics had closed entirely—including 40% of the specialized family planning providers

that had been most heavily targeted by the legislation. Service hours were reduced at an




139
   For example, in 13% of counties with Planned Parenthood affiliates there are no FQHCs offering contraceptive
care at all. Id. at 5.
140
    Yao Lu & David J.G. Slusky, The Impact of Women’s Health Clinic Closures on Preventive Care, 8 AM. ECON.
J.: APPLIED ECON. 100 (2016), https://pubs.aeaweb.org/doi/pdfplus/10.1257/app.20140405.




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additional 15% of clinics and in total 54% fewer patients were seen.141 Wait times for reduced

rate services in the Rio Grande Valley typically increased to several months.142 The impact on

women’s reproductive health, due to the resulting cuts in service in Texas, was significant.

Insurance claims for LARC declined by over a third in counties where a Planned Parenthood

affiliate had been excluded from the state family planning program,143 and the rate of childbirth

covered by Medicaid for women who relied on contraceptive injections went up by 27%.144

Similarly, in Iowa, Planned Parenthood was forced to close four clinics based on its loss of

funding.145 As a result, the number of patients enrolled in the program fell by half, and the

services provided over a comparable three-month period declined by 73%—despite there being

$2.5 million dollars remaining in the program that was not spent.146 In other words, the ban on

funding clinics that provided both abortion services and family planning could not be remedied by

provision of services at other locations, even when funding was available.

            139.    In Maine, Maine Family Planning contemplates a similar choice. If it remains in

the program, its provision of family planning services will be impaired by the limitations of the

Gag Rule and the other provisions of the Rule described above. But if Maine Family Planning



141
  Kari White et al., The Impact of Reproductive Health Legislation on Family Planning Clinic Services in Texas,
105 AM. J. PUB. HEALTH 851, 853–55 (2015).
142
   CTR. FOR REPROD. RIGHTS & NAT’L LATINA INST. FOR REPROD. HEALTH, NUESTRA VOZ, NUESTRA SALUD,
NUESTRO TEXAS: THE FIGHT FOR WOMEN’S REP RODUCTIVE HEALTH IN THE RIO GRANDE VALLEY 4 (Nov. 2013),
http://www.nuestrotexas.org/wp-content/uploads/2015/03/NT-executive-summary-EN1.pdf.
  Amanda J. Stevenson et al., Effect of Removal of Planned Parenthood from the Texas Women’s Health Program,
143

374 NEW ENG. J. MED. 853, 858 (2016).
144
      Id. at 853.
145
   Tony Leys & Barbara Rodriguez, State Family Planning Services Decline 73 Percent in Fiscal Year as $2.5M
Goes Unspent, DES MOINES REG. (Oct. 18, 2018),
https://www.desmoinesregister.com/story/news/health/2018/10/18/iowa-health-care-family-planning-contraception-
services-planned-parenthood-abortion-medicaid/1660873002/.
146
      Id.




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leaves the program, the closure of 11 to 15 directly controlled clinics, and the termination of

services through subgrantees, will be devastating to the provision of family planning services

across Maine and to those patients who are most vulnerable—the most rural and isolated.

         140.    Importantly, once forced to close, financial and other barriers involved in

reopening clinics often are insurmountable.147

         141.    The reduction in subsidized family planning access that accompanies clinic

closures or reduction in services has long-lasting effects on women who use these programs and

on their families.148

       B. The Rule Will Harm the Relationship between Patients and Their Family
          Planning Providers and Require Providers to Violate Ethical Principles

         142.    The Rule unreasonably undermines the patient-provider relationship and will result

in worse health care for patients immediately upon going into effect.

         143.    Under the Rule, many patients will no longer be able to receive comprehensive

care from their regular provider. This is particularly significant in light of two facts. First, the

majority of women (60%) who use Title X-supported health care centers report that it is their

usual source of medical care, and 40% report that it is their only source of medical care.149 In

rural areas in particular, where there are greater shortages of both primary and specialty care,150


 147
    See N. MADSEN ET AL., ABORTION CARE NETWORK, COMMUNITIES NEED CLINICS: THE ROLE OF INDEPENDENT
 ABORTION CARE PROVIDERS IN ENSURING MEANINGFUL ACCESS TO ABORTION CARE IN THE UNITED STATES 8
 (2017), https://www.abortioncarenetwork.org/wp-content/uploads/2017/08/CommunitiesNeedClinics2017.pdf.
 148
    Martha J. Bailey et al., Does Access to Family Planning Increase Children’s Opportunities? Evidence from the
 War on Poverty and the Early Years of Title X, 54 J. HUM. RESOURCES (forthcoming 2019) (manuscript at 4),
 http://jhr.uwpress.org/content/early/2018/07/03/jhr.55.1.1216-8401R1.abstract?sid=d50e256e-9ce7-4025-8bae-
 d9b4f46dbaec; Martha J. Bailey, Fifty Years of Family Planning: New Evidence on the Long-Run Effects of
 Increasing Access to Contraception, 2013 BROOKINGS PAPERS ON ECON. ACTIVITY 341, 362 (2013).
 149
   Adam Sonfield et al., GUTTMACHER INST., MOVING FORWARD: FAMILY PLANNING IN THE ERA OF HEALTH
 REFORM 32 (2014), https://www.guttmacher.org/report/moving-forward-family-planning-era-health-reform.
 150
   The National Rural Health Association reports that there are 13.1 physicians per 10,000 people in rural areas
 compared to 31.2 physicians per 10,000 people in urban areas. There are only 30 specialists per 100,000 people in



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nonspecialized family planning clinics take on an even greater significance. And second, many

Title X programs are not located at clinics dedicated exclusively to family planning. For

example, 26% of Title X–funded clinics are FQHCs, which by definition are intended to provide

primary care and to be the primary medical home for patients.151 That figure has increased from

only 7% in 2001. Roughly 10% of all FQHCs in 2015 received Title X funding.152

            144.     Accordingly, when patients visit Title X–funded health centers, they have no

reason to know where the funding for their services comes from, much less that they are seeing a

Title X–funded provider or even what Title X is. Rather, patients come to their health center with

an expectation that they will receive a range of services, and that they will receive the full

spectrum of information that is to be expected from candid conversations between health

professionals and their patients. The Rule undermines this expectation.

            145.     By requiring physical separation of family planning services and abortion, the Rule

will disrupt the continuity of care as to patients for whom abortion is part of their comprehensive

reproductive health care. Evidence indicates that continuity is valuable and important to

providers and patients because it enables improved patient-provider relationships and results in

improved clinical outcomes.153 Continuity of care reduces unnecessary testing, and potential for

miscommunication. It results in higher rates of preventive care, better record-keeping, and

increased patient trust and satisfaction with their health care providers.154


rural areas, while urban areas have 263 specialists per 100,000 people. About Rural Health Care, NAT’L RURAL
HEALTH ASSOC., https://www.ruralhealthweb.org/about-nrha/about-rural-health-care (last visited Mar. 5, 2019).
151
      Jennifer J. Frost et al., supra note 19, at 9.
152
   Id.; HEALTH RES. & SERVS. ADMIN., HRSA FACT SHEET FY 2015—NATION (Sept. 30, 2015),
https://data.hrsa.gov/data/fact-sheets (select “FY 2015”; then select “View Fact Sheet”).
153
  Vidya Sudhakar-Krishnan & Mary CJ Rudolf, How Important is Continuity of Care?, 92 ARCHIVES DISEASES
CHILDHOOD 381, 381–82 (2007), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2083711/.
154
      Id.




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       146.     These harms are further compounded by the fact that the Gag Rule prohibits these

same Title X providers from engaging in an open dialogue about and referring their patients for

abortion services. The many women for whom Title X providers are their usual or only source of

health care will not have ready access to other health professionals who can otherwise provide

this information. 155 Patients seeking abortion referrals inevitably will be confused and frustrated

by their providers’ unwillingness to provide this information, thereby further eroding their

patient-provider relationship. Other patients may be misled by their providers’ insistence on

giving them information about prenatal care and adoption and may interpret their providers’

insistence on providing this unwanted and unnecessary information as disapproval of the patient’s

stated choice to have an abortion.

       147.     Moreover, the Gag Rule forces providers to act and speak contrary to their medical

judgment, their ethical codes, and the standard of care. A cornerstone of the patient-provider

relationship is the ability to provide accurate, complete, evidence-based information. By

restricting abortion referral, limiting speech about abortion, and compelling speech about post-

conception options, the Rule will prevent these providers from providing complete, accurate, and

evidence-based information to their patients. Accordingly, it infringes on providers’ ability to

provide medical advice to their patients in a manner consistent with medical ethics and with the

standard of care, and it deprives patients of information they need about treatment choices and

alternatives so that they can make decisions about how to proceed with their medical treatment.

In these ways and others, the Gag Rule further forces Title X family planning providers to violate

a wide spectrum of applicable medical standards and codes of medical ethics.


155
   To the extent some related information is available on the Internet, the unsubstantiated and unvetted web of
information on the Internet is no substitute for the type of information and counseling patients receive from a
qualified health care provider, which must be provided in accordance with the governing standard of care.
Moreover, much of the information about abortion on the Internet is misleading and medically inaccurate.



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        148.     For example, the American Medical Association (“AMA”) states in its code of

ethics that “Patients have the right to receive information and ask questions about recommended

treatments so that they can make well-considered decisions about care. Successful

communications in the patient-physician relationship fosters trust and support shared decision

making.”156 “Patients should be able to expect that their physicians will provide guidance about

what they consider the optimal course of action for the patient based on the physician’s objective

professional judgment.”157 The AMA’s code of ethics further states that “withholding

information without the patient’s knowledge or consent is ethically unacceptable.”158

        149.     Similarly, the American College of Obstetricians and Gynecologists’ (“ACOG”)

code of professional ethics states the importance of the patient-physician relationship, noting “the

respect for the right of individual patients to make their own choices about their healthcare.”159

ACOG’s policy statement on abortion notes that “[i]nduced abortion is an essential component of

women’s health care.”160

        150.     The code of ethics for the American College of Nurse-Midwives states that

midwives will “develop a partnership with the woman, in which each shares relevant information


156
   Am. Med. Assoc., Code of Medical Ethics § 2.1.1 Informed Consent (2016), https://www.ama-
assn.org/delivering-care/informed-consent; see also Letter from James L. Madara, supra note 52 (“The proposed
changes on counseling and referral described above would not only undermine the patient-physician relationship,
but also could force physicians to violate their ethical obligations.”).
157
   Am. Med. Assoc., Code of Medical Ethics Opinions § 1.1.3 Patient Rights, https://www.ama-assn.org/sites/ama-
assn.org/files/corp/media-browser/code-of-medical-ethics-chapter-1.pdf (emphasis added).
158
   Am. Med. Assoc., supra note 156, § 2.1.3 Withholding Information from Patients, https://www.ama-
assn.org/delivering-care/withholding-information-patients.
159
   Am. Coll. of Obstetricians & Gynecologists, Code of Prof. Ethics 1 (2018), https://www.acog.org/-
/media/Departments/National-Officer-Nominations-Process/ACOGcode.pdf?dmc=1&ts=20180726T1911469633;
see also Letter from Lisa M. Hollier, supra note 53, at 6 (“The Proposed Rule’s restrictions on counseling and
referral for abortion are a violation of the patient-physician relationship, undermine the quality of care provided to
patients, place physicians in ethically compromising situations, and, accordingly, should not be implemented.”).
160
   Am. Coll. of Obstetricians & Gynecologists, College Statement of Policy, Abortion Policy 1 (2014),
https://www.acog.org/-/media/Statements-of-Policy/Public/sop069.pdf?dmc=1&ts=20180726T1910257757.




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that leads to informed decision-making” and notes in a position statement that “everyone has the

right to access factual, evidence-based, unbiased information about available sexual and

reproductive health care services in order to make informed decisions.”161 The American Nurses

Association code of ethics likewise states, “Patients have the moral and legal right to determine

what will be done with and to their own person; to be given accurate, complete, and

understandable information in a manner that facilitates an informed decision.”162

       151.     For providers at Maine Family Planning and other Title X clinics, upholding these

ethical standards is central to every single patient interaction—whether it is telling a patient who

discloses a new onset of substance use about treatment options, or a patient who has high risk

sexual behaviors about the importance of condom use and testing, or a patient who is

experiencing domestic violence about available resources who does not know that there are

resources available, or a pregnant patient about comprehensive options.

       152.     By restricting abortion referral, limiting speech about abortion, and compelling

speech about post-conception options, the Rule will prevent Title X providers from providing

candid, complete, accurate, and medically-useful information to their patients and will prevent

patients from having the information they need to make decisions about their medical care. The




161
   Am. Coll. of Nurse Midwives, Code of Ethics (2013), http://www.midwife.org/ACNM/files/ACNMLibraryData/
UPLOADFILENAME/000000000048/Code-of-Ethics.pdf; Am. Coll. of Nurse-Midwives, Position
Statement: Access to Comprehensive Sexual and Reproductive Health Care Servs. 1 (2016),
http://www.midwife.org/acnm/files/ACNMLibraryData/UPLOADFILENAME/000000000087/Access-to-
Comprehensive-Sexual-and-Reproductive-Health-Care-Services-FINAL-04-12-17.pdf; see also Letter from Amy
M. Kohl, Dir. of Advocacy & Gov’t Affairs, Am. Coll. of Nurse-Midwives, to the Office of Population Affairs, U.S.
Dep’t of Health & Human Servs. 3 (July 31, 2018), https://www.regulations.gov/document?D=HHS-OS-2018-0008-
198447 (“The proposed changes to the Title X program would interfere with the provider-patient relationship by
barring providers from providing critical reproductive-health information that midwives and other health care
providers have a moral and ethical obligation to provide.”).
162
   Am. Nursing Ass’N, Code of Ethics for Nurses with Interpretive Statements § 1.4 (2015),
https://www.nursingworld.org/coe-view-only.




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Rule accordingly pits health care professionals’ ethical responsibilities against their continued

receipt of Title X funding.

 II. The Rule Will Harm Patients Who Seek Abortion Access

         153.    There is no typical abortion patient. Nationally, approximately 39% of abortion

patients are white; 28% are Black; 25% are Hispanic; 6% are Asian or Pacific Islander; and 3%

identify with other racial or ethnic classifications. Sixty percent of abortion patients are in their

twenties, and a quarter are in their thirties. Many abortion patients (59%) have had at least one

previous birth. Three-quarters of abortion patients in the United States are low-income, with

nearly half living below the federal poverty level.163

         154.    The Rule will significantly harm women seeking to exercise their fundamental

right to abortion by: limiting the availability of abortion services; delaying and even preventing

patients from accessing health care; and increasing abortion stigma. The predictable result of

these harms is that abortion will become inaccessible for many women.

         155.    As applied to patients seeking medication abortion via telemedicine at Maine

Family Planning’s satellite clinics, the Rule has the purpose and effect of placing a substantial

obstacle in the path of these women seeking abortion.

       A. Limiting the Availability of Abortion Services

         156.    The Rule would greatly exacerbate the existing scarcity of abortion services, both

in Maine and nationwide. According to the most recent statistics, 90% of all U.S. counties already

lacked an abortion clinic in 2014, and 39% of women of reproductive age lived in those




 163
    JENNA JERMAN ET AL., GUTTMACHER INST., CHARACTERISTICS OF U.S. ABORTION PATIENTS IN 2014 AND
 CHANGES SINCE 2008, at 1 (2016), https://www.guttmacher.org/sites/default/files/report_pdf/characteristics-us-
 abortion-patients-2014.pdf.




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counties.164

           157.     The Rule’s physical separation requirement would force many providers, like

Maine Family Planning, that currently provide both abortion care and Title X family planning

care, to choose between providing the two services at their clinics. Many Title X projects are

established practices that have developed over the course of many years (and some, like Maine

Family Planning, over the course of decades), in reliance on the longstanding policy that allows

them to share facilities with abortion providers. Forcing post hoc physical separation of these

established practices decades later would be expensive, complicated and, in many cases,

impossible.

           158.     The Rule unrealistically suggests that this effort of separating facilities can be done

in one year and would cost between $20,000–$40,000 per service site in the first year.165 In

reality, the cost of separating facilities can total hundreds of thousands of dollars.

           159.     The Rule will thus cause many existing clinics to stop providing abortion services.

For example, seventeen of Maine Family Planning’s clinics will be unable to logistically and/or

financially manage the physical separation required by the Rule. Thus, in order for Maine Family

Planning to implement the Rule, those clinics would be forced to stop providing abortion care

altogether. Similarly, if Maine Family Planning leaves the Title X program, it could soon be

forced to close 11 to 15 of its clinics and stop providing abortion care at those sites accordingly.

Under either scenario, abortion access in Maine would be severely curtailed. A substantial

burden will be placed on women’s ability to obtain abortion care, due to significantly increased

travel distances to abortion providers and the hurdles associated with such travel. This would


 164
   Rachel K. Jones & Jenna Jerman, Abortion Incidence and Service Availability in the United States, 2014, 49
 PERSP. ON SEXUAL & REPROD. HEALTH 1, 4 (2017).
 165
       Compliance With Statutory Program Integrity Requirements, 84 Fed. Reg. at 7,781–82.



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delay women’s access to abortion care, deny women access to their preferred abortion procedure,

and prevent some women from accessing abortion altogether.

         160.     As it stands, Maine has only three publicly accessible health centers where a

woman can obtain an aspiration abortion or any abortion care after 10 weeks LMP, each of which

primarily offers such care only one day per week:166 Maine Family Planning in Augusta, Planned

Parenthood of Northern New England in Portland, and Mabel Wadsworth Center in Bangor. But

Maine Family Planning’s satellite clinics at least provide broader access to medication abortion in

the state—a crucial option for rural patients.167 If Maine Family Planning complies with the Rule,

more than half of Maine women would live in counties without an abortion provider, and the

distances many women would have to travel to obtain any kind of abortion services would be

substantial, increasing by multiple orders of magnitude. For example, while currently 7.9% of

patients are traveling more than 25 miles to reach their nearest abortion provider, if Maine Family

Planning’s 17 satellite clinics close, 76% of patients (including those seeking medication

abortion) would have to travel more than 25 miles to reach their nearest clinics. In addition, none

of these women are currently traveling 100 miles or more to a clinic offering at least medication

abortion, but if Maine Family Planning’s satellites close, 10% of patients will have to travel more

than 100 miles to their nearest clinic (including those seeking medication abortion). This large

shift in travel distances will affect the utilization of abortion services in Maine.

         161.     A woman who lives in Fort Kent, for example, would need to travel more than six

hours round-trip to Bangor to obtain care. A woman who lives in Skowhegan, Farmington, or




 166
    Medication abortion, the only other abortion method offered in the first trimester of pregnancy, is available only
 through 10 weeks of pregnancy. See supra ¶ 109.
 167
    Maine Family Planning’s satellite clinics can offer only medication abortion via telehealth, because the APRNs
 on site are not permitted to provide abortion services independently under the State’s Physician-Only Law.



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Belfast would be required to travel up to two hours round-trip to Augusta to obtain an abortion. If

she lives in Calais, Machias, or Presque Isle, she would have to travel up to four or five hours

round-trip to Bangor.

          162.   A woman who lives on the island of Vinalhaven would face a full-day commute,

or more, to obtain any abortion care. She would first have to take a ferry to Rockland (which runs

only six times daily), and then find and pay for transportation for the one-hour drive to Augusta.

After her procedure, she would need to find and pay for transportation to return to Rockland, and

then take a return ferry, the last of which departs at 4:30 pm. If she were unable to make the

return ferry, she would need to find and pay for overnight lodging.

          163.   A woman who lives on one of Maine’s more remote islands would have an even

more difficult and expensive commute to obtain abortion care. For instance, a woman on

Matinicus would have only two travel options: an air taxi to Knox County Regional Airport

(which flies only twice daily; typically has only three seats available; and costs $60 each way) or

a ferry (which runs only two to four days in any given month and takes more than two hours each

way). She would then need to find and pay for transportation to and from Augusta, and she

would almost certainly have to find and pay for overnight lodging before she can return to the

island.

          164.   A variety of factors make travel throughout Maine particularly difficult if not

impossible for many women, including but not limited to: high rates of rural poverty; lack of

public transportation; Maine’s large rural population; poor weather conditions during the winter;

and Maine’s limited access to major roadways, as Interstate 95 is the only major highway in the

state. For some women, increased travel distances will lead to significantly longer travel times,

particularly where women must travel on local or country roads and/or during inclement weather.




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Depending on the weather conditions, these journeys may take far longer, or simply be

impossible.

        165.     Empirical evidence demonstrates that even comparatively small increases in

driving distance, like 25 miles, can lead to substantial decreases in access to abortion.168 In part,

this is because increased travel distances also translate to additional travel costs and incidentals.

A woman facing these long travel distances to obtain an abortion typically must arrange and pay

for transportation and take time off work. Low-wage workers often have no access to paid time

off or sick days. A woman facing such a lengthy journey to access an abortion often also must

arrange and pay for child care.169 These costs can be prohibitive for poor and low-income women

who cannot afford to forgo wages or risk job loss.

        166.      Two-thirds of the patients who sought abortion services at Maine Family Planning

in 2018 required financial support. Maine Family Planning’s poor and low-income patients

routinely tell their health care providers that they do not have, and will not be able to find, the

money they need to travel to a clinic in a different city for abortion care. Although Maine’s

Medicaid program covers the cost of transportation to receive Medicaid-covered health services,

because Maine’s Medicaid program excludes coverage for abortion in almost all cases, Plaintiffs’

poor and low-income patients who are enrolled in or eligible for Medicaid cannot receive state

assistance either with the cost of their abortions or with the cost of travel to their appointments.




 168
    Some scholars estimate that an increase in travel distance from 0 to 25 miles reduces abortion rates by
 approximately 10%. Jason M. Lindo et al., How Far Is Too Far? New Evidence on Abortion Clinic Closures,
 Access, and Abortions 2, 18 (Nat’l Bureau of Econ. Research, Working Paper No. 23366, 2018),
 http://people.tamu.edu/~jlindo/HowFarIsTooFar.pdf.
 169
   59% of women who obtained abortion in 2014 had had at least one previous birth. JENNA JERMAN ET AL.,
 GUTTMACHER INST., CHARACTERISTICS OF U.S. ABORTION PATIENTS IN 2014 AND CHANGES SINCE 2008 (May
 2016), https://www.guttmacher.org/sites/default/files/report_pdf/characteristics-us-abortion-patients-2014.pdf.



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        167.     For the women who are nonetheless able to overcome the burdens associated with

increased travel distances, travel will still inevitably delay access to abortion, and that delay

harms patients in myriad ways.

        168.     First, while abortion is safe at any point in pregnancy, delayed abortion care is

associated with health risks. The risks of complications and the risks of abortion failure both

increase with increasing gestational age. Abortion-related mortality occurs at a rate of 0.3 per

100,000 procedures at eight weeks of gestation or less, but 6.7 per 100,000 procedures at 18

weeks of gestation or more.170 Thus, forcing pregnant people to delay abortion care is detrimental

to their health and exposes them to greater risks with no medical justification. Additionally, every

day a woman remains pregnant, she endures the continued risks of complications of pregnancy

and the physical and emotional symptoms of pregnancy, including fatigue and nausea, which can

be severe and even debilitating. The complexity of the abortion procedure also increases with

increasing gestational age.

        169.     Second, delays can increase the cost of an abortion procedure. Abortion care

during the first trimester of pregnancy is substantially less expensive than in the second trimester:

the median prices of a surgical abortion at ten weeks LMP is $508, while the cost rises to $1,195

at twenty weeks LMP.171 For patients who struggle to afford a first trimester procedure, a second

trimester procedure could be completely out of reach. This is especially true for women with low

incomes who must pay for the procedure out of pocket in most states.172


 170
   Suzanne Zane et al., Abortion-Related Mortality in the United States: 1998–2010, 126 OBSTETRICS &
 GYNECOLOGY 258, 260 tbl.2 (2015).
 171
    Rachel K. Jones et al., Differences in Abortion Service Delivery in Hostile, Middle-ground, and Supportive States
 in 2014, 28 WOMEN’S HEALTH ISSUES 212, 216 tbl. 4 (2018); Medicaid Funding of Abortion, GUTTMACHER INST.
 (Feb. 2018), https://www.guttmacher.org/evidence-you-can-use/medicaid-funding-abortion.
 172
   Thirty-four states and the District of Columbia ban Medicaid coverage for abortion care. Medicaid Funding of
 Abortion, supra note 171. Twenty-six states also prohibit plans purchased on the ACA Marketplace from covering



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       170.     Third, delays in access to care will prevent some women from accessing their

preferred abortion procedure and will prevent other women from accessing abortion care in the

state of Maine altogether.

       171.     Some women prefer medication abortion and it is clinically preferred for women

with certain medical conditions, including obesity and uterine anomalies. Because the FDA has

only approved use of medication abortion through 10 weeks LMP, women delayed past that

cutoff will be deprived the choice of a medication abortion.

       172.     The burdens from delayed access to care for women seeking abortion care in the

second trimester are greater still. Fewer providers may be available to treat patients who

experience significant delays in accessing abortion care. As of 2014, only 72% of abortion clinics

in the United States provided care after the first trimester of pregnancy (between 12 and 14 weeks

LMP, depending on the state).173 The scarcity of second trimester providers is particularly

burdensome for patients with low incomes. If a patient misses her opportunity to access abortion

care in the first trimester, accessing abortion care during the second trimester will likely involve

significantly increased travel distance and cost.

       173.     Some women, especially from rural areas of the state, will be unable to travel to

Maine Family Planning’s Augusta clinic before its gestational limit of 14.0 weeks. On

information and belief, Mabel Wadsworth Center in Bangor only provides abortion through 14.3

weeks while Planned Parenthood’s Portland Health Center provides abortion services through

18.6 weeks. Thus, a patient seeking abortion care in Maine between 14.0 and 14.3 weeks would


abortion care. Alina Salganicoff & Laurie Sobel, Abortion Coverage in the ACA Marketplace Plans: The Impact of
Proposed Rules for Consumers, Insurers and Regulators, HENRY J. KAISER FAMILY FOUNDATION, at fig.1 (Dec. 21,
2018), https://www.kff.org/womens-health-policy/issue-brief/abortion-coverage-in-the-aca-marketplace-plans-the-
impact-of-proposed-rules-for-consumers-insurers-and-regulators/.
173
   Induced Abortion in the United States, GUTTMACHER INST. (Jan. 2018), https://www.guttmacher.org/fact-
sheet/induced-abortion-united-states.



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have to travel to either Bangor or Portland, and the only option for patients seeking abortion in

Maine after 14.3 weeks would be to travel to Portland.

         174.   Due to a combination of factors, including relative lack of access to medical

services and difficulty accessing and affording contraceptives, women with low incomes have

more unintended pregnancies, and higher abortion rates, than women with higher incomes.

Consequently, a disproportionately high percentage of women who seek abortions nationwide

have poverty-level incomes, including the patients at Maine Family Planning and throughout

Maine.

    B. Delaying or Preventing Patients from Accessing Necessary Health Care Information

         175.   Patients seeking access to an abortion will also be prevented by the Gag Rule from

learning information that is necessary to their receipt of timely care.

         176.   First, within a Title X family planning appointment, a patient who desires an

abortion will encounter either a health care professional who refuses to provide her with any

information about abortion services, as permitted by the Rule, or a health care professional who is

required by the Rule to give her unwanted and stigmatizing information about prenatal care and

who is limited by the Rule’s vague language as to what he or she can say about abortion.

         177.   Next, the health care professional will be required to withhold information about

where the patient can receive her desired services. The patient would then have to research

whether any abortion providers offering care at the gestational stages needed by the patient are

located nearby. As part of that research, the patient may then have to contact or visit several

providers in order to find one providing the care she seeks. Some patients will encounter “Crisis

Pregnancy Centers” during this search, which have been shown to intentionally mislead and delay

patients seeking abortion care.




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       178.    These hurdles will significantly delay a large percentage of affected patients’

ability to access abortion care, and exacerbate the existing burdens patients with low incomes

already face in accessing care, without any medical benefit. For most patients with low incomes,

visiting even one health care provider on the referral list who does not provide abortion care, and

then taking time off to actually obtain an abortion, would mean multiple days of missed wages,

and may even lead to job loss.

       179.    In addition, as detailed above, delays in access to abortion care will increase health

risks for patients and the complexity and costs of their abortion procedures, limit patients’ options

of providers, force women to endure the continued risks of complications of pregnancy and the

physical and emotional symptoms of pregnancy, prevent some women from accessing their

preferred abortion procedure, and prevent others from accessing abortion altogether in the state of

Maine and elsewhere.

    C. Increasing Abortion Stigma and Exposure to External Harms

       180.    Increased logistical burdens associated with the Rule will make it more difficult

for patients who desire to keep their decision to have an abortion private. This exposes patients

who are seeking abortions in dangerous situations, such as those in abusive relationships or

victims of unreported rape or incest, to a greater risk of violence or other harms.

       181.    The Rule would further contribute to a climate of secrecy and stigma against

abortion, which deters clinicians from offering abortion care and penalizes those who continue to

provide it. Stigma in turn harms pregnant women seeking abortions by reducing the number of

abortion providers, reducing their access to the few remaining providers, and demeaning their

constitutionally-protected decisions.




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        182.    These burdens can result in patients incurring increased risks and costs,

experiencing psychological harm, and potentially attempting to self-induce abortions if they

cannot get to a provider, even though they would have preferred a clinic-based abortion. For

some patients, the needless delays created by the Rule will result in them not being able to obtain

abortion care at all.

        183.    Patients who cannot obtain abortion care, and who are therefore required to give

birth, experience meaningful physical, economic, and emotional harms as a result. Recent studies

demonstrate that women denied abortions are more likely to live in poverty, to raise children

alone, and to remain with an abusive partner, and they are less likely to have and achieve

aspirational plans for the future.174

        184.    Ultimately, the barriers to abortion access imposed by the Separation Requirement

and Gag Rule, both individually and cumulatively, will severely diminish, and in many cases

foreclose, abortion access and endanger women’s health.

                                         CLAIMS FOR RELIEF

           FIRST CAUSE OF ACTION—ADMINISTRATIVE PROCEDURE ACT:
          CONTRARY TO LAW AND IN EXCESS OF STATUTORY AUTHORITY

        185.    The foregoing allegations are re-alleged and incorporated by reference as if

restated fully here.

        186.    Plaintiffs are entitled to relief under the Administrative Procedure Act because the

Rule is unlawful under federal statutes and the Constitution.




   Diana Greene Foster et. al, Effects of Carrying an Unwanted Pregnancy to Term on Women’s Existing Children,
 174

 205 J. PEDIATRICS 183 (2019), https://www.jpeds.com/article/S0022-3476(18)31297-6/pdf.



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           187.     The Administrative Procedure Act requires courts to “hold unlawful and set aside”

any agency action, finding, or conclusion that is “an abuse of discretion,” “not in accordance with

the law,” “contrary to constitutional right, power, privilege, or immunity,” or “in excess of

statutory . . . authority, or limitations, or short of statutory right.”175

           188.     The Rule violates the law because its Gag Rule provisions contravene the

Nondirective Counseling Mandate set forth in the Continuing Appropriations Act, 2019.176

           189.     The Rule further violates the law because its physical separation and Gag Rule

provisions contravene section 1554 of the Patient Protection and Affordable Care Act. 177

           190.     Section 1554 requires that HHS not promulgate any regulation that “interferes with

communications regarding a full range of treatment options between the patient and the provider,”

that “restricts the ability of health care providers to provide full disclosure of all relevant

information to patients making health care decisions,” or that “violates the principles of informed

consent and the ethical standards of health care professionals.”

           191.     Because the Rule prevents health care providers from providing appropriate

referrals to their patients to address the possibility of an abortion, and because it prevents medical

professionals from engaging in an open dialogue with their patients about abortion, the Rule does

not allow providers to discuss a full range of treatment options or fully disclose all relevant

information. In forcing health care providers to arrange for unnecessary and unwanted prenatal

care referrals, the Rule similarly interferes with patient–provider communications. As attested to

by the American Medical Association, the American College of Obstetricians and Gynecologists,




 175
       5 U.S.C. § 706(2)(A)–(C).
 176
       Pub. L. 115–245, Div. B, § 208, 132 Stat. 2981, 3070–71.
 177
       42 U.S.C. § 18114 (2012).



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the American Academy of Nursing, and other organizations, it also violates the ethical standards

of health care professionals.

          192.     Section 1554 further requires that HHS not promulgate any regulation that “creates

any unreasonable barriers to the ability of individuals to obtain appropriate medical care” or

“impedes timely access to health care services.”

          193.     Because the Rule requires Title X providers to physically segregate their Title X

family planning services from their abortion services, forcing patients to seek care at multiple

locations, it creates unreasonable barriers for patients with unwanted pregnancies to obtain care

and impedes timely access to abortion services. Furthermore, the Rule’s ban on referring Title X

patients for abortion care impedes those patients’ timely access to abortion care given the

difficulties for patients of obtaining accurate and appropriate information about abortion

providers. The Rule also creates unreasonable barriers and impedes timely access to healthcare

services by imposing restrictions that will force many health care providers to leave the Title X

program and/or close clinics altogether.

          194.     The Rule violates the law because it is not based on a permissible construction of

Title X. By way of example and not limitation, the Rule contravenes Congress’s mandate that

Title X projects provide “comprehensive” and “voluntary” services.178

          195.     The Rule also is not a permissible construction of Title X because it is contrary to

Congress’s clear intent, as evidenced by the legislative history leading up to Title X, as well as

Congress’s legislative actions and its statements on the floor relating to the Title X program

throughout the nearly fifty years since Title X’s enactment.

          196.     The Rule is unlawful because it violates the First Amendment.


178
      42 U.S.C. §§ 300a, 300a-5.



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        197.     The Rule is unlawful because it violates the Due Process Clause of the Fifth

Amendment.

        198.     The Rule is unlawful because it discriminates based on the exercise of a

fundamental right and based on sex.

        199.     The Rule is unlawful because it erects an unconstitutional condition to receipt of

federal funds.

        200.     By issuing the unlawful Rule, Defendants abused their discretion in violation of

5 U.S.C. § 706(2)(A).

        201.     Because Defendants’ actions are “not in accordance with law,” “contrary to

constitutional right,” “an abuse of discretion,” and in excess of statutory authority and short of

statutory right, the Government Defendants have violated the Administrative Procedure Act.

        202.     Absent declaratory and injunctive relief, Defendants’ violations will cause ongoing

harm to Plaintiffs.

         SECOND CAUSE OF ACTION—ADMINISTRATIVE PROCEDURE ACT:
                       ARBITRARY AND CAPRICIOUS

        203.     The foregoing allegations are re-alleged and incorporated by reference as if

restated fully here.

        204.     Plaintiffs are entitled to relief under the Administrative Procedure Act because the

Rules are arbitrary and capricious.

        205.     The Administrative Procedure Act requires courts to “hold unlawful and set aside”

any agency action, finding, or conclusion that is “an abuse of discretion,” “arbitrary and

capricious,” “not in accordance with the law,” “contrary to constitutional right, power, privilege,

or immunity,” or “in excess of statutory . . . authority, or limitations, or short of statutory




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right.”179

           206.     Defendants’ issuance of the Rule exceeded their statutory authority, abused their

discretion, and is arbitrary and capricious because the Rule was adopted without permissible or

valid justification.

           207.     Defendants’ issuance of the Rule exceeded their statutory authority, abused their

discretion, and is arbitrary and capricious because the Rule rescinds longstanding regulatory

requirements without any reasoned explanation.

           208.     Although the Rule purports to identify “justifications” for reversing its

longstanding position, it provides no reasonable explanation for these significant changes.

           209.     At the same time, the Rule fails to address and/or meaningfully consider material

facts and evidence submitted during the comment period on the Proposed Rule, including but not

limited to harms that would be imposed by the separation requirements and Gag Rule.

           210.     Defendants’ cost-benefit analysis likewise fails to weigh meaningful harms caused

by the Rule against its purely speculative benefits.

           211.     The Rule is inconsistent with the weight of the hundreds of thousands of comments

that were submitted in response to the notice of public rulemaking, and thus is arbitrary,

capricious, and an abuse of discretion.

           212.     By issuing the unlawful Rule, Defendants abused their discretion in violation of

5 U.S.C. § 706(2)(A).

           213.     Because Defendants’ actions are “arbitrary and capricious,” “an abuse of

discretion,” and in excess of statutory authority and short of statutory right, Defendants have

violated the Administrative Procedure Act.



 179
       5 U.S.C. § 706(2)(A)–(C).


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        214.    Absent declaratory and injunctive relief, the Defendants’ violations will cause

ongoing harm to Plaintiffs.

     THIRD CAUSE OF ACTION—FIFTH AMENDMENT DUE PROCESS, UNDUE
     BURDEN ON PLAINTIFFS’ PATIENTS’ RIGHT TO LIBERTY AND PRIVACY

        215.    The foregoing allegations are re-alleged and incorporated by reference as if

restated fully here.

        216.    The Due Process Clause of the Fifth Amendment prohibits the government from

denying fundamental rights such as the right to liberty.

        217.    The right to liberty encompasses the right to abortion.

        218.    The government may not impose upon the right to abortion an undue burden,

which exists if a regulation’s purpose or effect is to place a substantial obstacle in the path of a

woman seeking an abortion before viability.

        219.    As applied to Plaintiffs’ patients seeking abortion from Maine Family Planning’s

non-Augusta clinics (the “satellite clinics”), the Rule has the purpose and effect of placing

substantial obstacles in the way of patients’ access to abortion care.

        220.    The Rule, as applied to patients seeking abortion at Maine Family Planning’s

satellite clinics, individually and in conjunction with related federal and Maine state laws, violates

Plaintiffs’ patients’ right to liberty as guaranteed by the Due Process Clause of the Fourteenth

Amendment to the United States Constitution, because it imposes an undue burden on Plaintiffs’

patients’ fundamental right to choose abortion before viability.

        221.    Absent declaratory and injunctive relief, Defendants’ violations will cause ongoing

harm to Plaintiffs’ patients.




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                       FOURTH CAUSE OF ACTION—FIRST AMENDMENT

       [On Behalf of Maine Family Planning and Maine Family Planning’s Employees]

        222.    The foregoing allegations are re-alleged and incorporated by reference as if

restated fully here.

        223.    Plaintiff Maine Family Planning is entitled to relief because the Rule subjects, and

will continue to subject, Maine Family Planning and Maine Family Planning’s employees to

deprivations of their rights under the First Amendment to the United States Constitution.

        224.    Providers of family planning services, including those funded by Title X, are

medical providers who are obliged by their training, their codes of ethics, and their duties toward

their patients to provide appropriate and complete information to those patients. These providers

help their patients make deeply personal decisions and their candor is crucial.

        225.    The Rule significantly impinges on the relationship between Title X providers and

their patients, including but not limited to patient’s relationships with physicians and APRNs.

        226.    The relationship between health care professionals and patients is a traditional

sphere of free expression that is entitled to protection under the First Amendment, even when

subsidized by the government.

        227.    The First Amendment provides a right to be free from governmental prohibitions

on speech as well as from compelled speech by the government.

        228.    The First Amendment further provides a right to be free from governmental

regulations of speech that prefer one particular viewpoint in speech over other perspectives on the

same topic.

        229.    Defendants have violated, and will continue to violate, Maine Family Planning and

Maine Family Planning’s employees’ rights under the First Amendment, including in the

following ways:


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                a.      by prohibiting Maine Family Planning and Maine Family Planning’s
                        employees from speaking their professional and medical opinions;

                b.      by compelling Maine Family Planning and Maine Family Planning’s
                        employees to speak in ways that they would not otherwise speak;

                c.      by barring Maine Family Planning and Maine Family Planning’s
                        employees from answering their patients’ questions or requests for
                        medical guidance;

                d.      by compelling Maine Family Planning and Maine Family Planning’s
                        employees to mislead their patients;

                e.      by undermining the sacred trust inherent in the patient-provider
                        relationship;

                f.      by compelling Maine Family Planning and Maine Family Planning’s
                        employees to violate medical ethics and the standard of care;

                g.      by imposing a content-based and viewpoint-based restriction on the
                        speech of Maine Family Planning and Maine Family Planning’s
                        employees;

                h.      by prohibiting Maine Family Planning and Maine Family Planning’s
                        employees from expressing their viewpoints;

                i.      by prohibiting Maine Family Planning and Maine Family Planning’s
                        employees from engaging in activities that encourage, promote, or
                        advocate for abortion;

                j.      by chilling Maine Family Planning and Maine Family Planning’s
                        employees’ speech through use of a vague standard that exposes Maine
                        Family Planning and Maine Family Planning’s employees to penalties for
                        expressing their viewpoint and/or their statements regarding the best
                        standard of care for patients.

       230.    The Rule’s restrictions on First Amendment rights are not justified by a

compelling or important governmental interest.

       231.    Even if Defendants have a compelling or important government interest, the Rule

is not substantially related or narrowly tailored to achieve that interest and/or achieves it in ways

that are far more intrusive than necessary.




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         232.   Absent declaratory and injunctive relief, the Defendants’ violations will cause

ongoing harm to Maine Family Planning and Maine Family Planning’s employees.

     FIFTH CAUSE OF ACTION—UNCONSTITUTIONAL CONDITIONS AS
                      APPLIED TO PLAINTIFFS

         233.   The foregoing allegations are re-alleged and incorporated by reference as if

restated fully here.

         234.   The Rule imposes an unconstitutional condition on Plaintiffs’ receipt of Title X

funds.

         235.   The Rule requires Plaintiffs to adopt policies and standards of care for patients that

violate Plaintiffs’ First Amendment and Fifth Amendment rights, and interferes with Plaintiffs’

practice of medicine.

         236.   The Rule requires Plaintiffs to adopt policies and take steps that will inflict a

substantial burden on patients’ ability to access abortion care, and thus infringe those patients’

fundamental right to abortion access.

         237.   The Rule therefore imposes an unconstitutional condition on Plaintiffs’ receipt of

federal funding and violates Plaintiffs’ and Plaintiffs’ patients’ rights as secured by the First and

Fifth Amendments of the United States Constitution.

         238.   Absent declaratory and injunctive relief, Defendants’ violations will cause ongoing

harm to Plaintiffs and Plaintiffs’ patients.

                       SIXTH CAUSE OF ACTION—EQUAL PROTECTION

         239.   The foregoing allegations are re-alleged and incorporated by reference as if

restated fully here.

         240.   The Due Process Clause of the Fifth Amendment prohibits the government from

denying equal protection of the laws.



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        241.    The Rule denies Plaintiffs the equal protection of the laws because it treats

pregnant individuals seeking abortion care differently from pregnant individuals seeking prenatal

care or otherwise intending to continue their pregnancies.

        242.    Pursuant to the Rule, health care providers in a Title X program must provide

incomplete, inaccurate, and misleading information that is inconsistent with medical ethics to

pregnant patients seeking abortion care. By contrast, they may provide complete, accurate, and

medically appropriate care to pregnant patients seeking prenatal care.

        243.    The Rule further denies Plaintiffs the equal protection of the laws because it

discriminates on the basis of sex.

        244.    Defendants cannot proffer any rationally related legitimate government interest or

legitimate justification for the Rule, let alone an important, exceedingly persuasive, or compelling

justification. The reasons offered by Defendants in the preamble to the Rule are unfounded and

pretextual.

        245.    Even if Defendants have an important, exceedingly persuasive, or compelling

government interest, the Rule is not substantially related or narrowly tailored to achieve that

interest.

        246.    Absent declaratory and injunctive relief, Defendants’ violations will cause ongoing

harm to Plaintiffs.

                 SEVENTH CAUSE OF ACTION—VOID FOR VAGUENESS

        247.    The foregoing allegations are re-alleged and incorporated by reference as if

restated fully here.

        248.    The Rule does not provide adequate guidance as to how providers can satisfy the

separation requirement, nor does it protect against arbitrary and discriminatory enforcement.




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        249.    The Rule’s Separation Requirements do not provide meaningful guidance on how

Title X providers must maintain physical and financial separation of abortion services and related

activities. Instead, the Rule gives the Secretary discretion to determine whether sufficient

“separation” exists “based on a review of facts and circumstances,” and then advances a number

of ambiguous and non-exclusive factors that Defendants should consider in determining whether

an organization has sufficiently separated Title X services from abortion care and/or abortion

related activities.

        250.    The Rule does not provide adequate guidance as to how providers can satisfy the

Gag Rule, nor does it protect against arbitrary and discriminatory enforcement.

        251.    Although the Gag Rule purports to allow “nondirective counseling,” it prohibits

Title X projects from “promot[ing]” or “support[ing] abortion as a method of family planning,”

without defining those terms or providing any explanation regarding their meaning. These

provisions are contradictory.

        252.    The Rule includes vague reporting requirements that do not provide adequate

guidance as to how providers can meet them and leave providers vulnerable to arbitrary and

discriminatory enforcement.

        253.    Furthermore, the Rule provides no process for appeal by which the risk of arbitrary

and discriminatory enforcement can be mitigated.

        254.    Because Plaintiffs are unable to determine what is required under the Rule,

Defendants have violated Plaintiffs’ rights secured to them by the Due Process Clause of the Fifth

Amendment.

        255.    The Rule is not justified by a governmental interest sufficient to justify this

violation, nor is it sufficiently tailored to achieve any such interest.




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       256.    Absent injunction and declaratory relief against the Regulation, Defendants’

violations will cause ongoing harm to Plaintiffs.



                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court:

                a.       Issue a declaratory judgment that the Rule was issued in violation of, and

violates, the Administrative Procedure Act, the Affordable Care Act, and the First and Fifth

Amendments to the United States Constitution, on its face and/or as applied to Plaintiffs;

                b.       Issue a preliminary injunction prohibiting Defendants from implementing

or enforcing the Rule;

                c.       Enter a permanent injunction prohibiting Defendants from implementing

or enforcing the Rule and vacating the Rule in its entirety;

                d.       Retain jurisdiction until Defendants have fully satisfied their court-ordered

obligations;

                e.       Award Plaintiffs attorneys’ fees and costs, as provided by any applicable

statute or regulation or the inherent powers of the Court;

                f.       Grant all further and additional relief that the Court may determine is just

and proper.




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Dated: March 6, 2019                     Respectfully submitted,



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* Motion for pro hac vice forthcoming.




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